Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 1 of 94 PageID 1




              UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF FLORIDA
                      TAMPA DIVISION

HOWARD CROSBY, GARY BODONY,                )
ERIC BURGESS, JESSICA                      )
CALDWELL, JEFFREY COMRIE,                  )
HOWARD CROSBY, PAUL DEE,                   )
BRIAN DUFFY, ALLEN HALL,                   )
NICHOLAS HALLMARK, JOHN                    )
HYATT, MICHAEL JACOBELLIS,                 )
KRYSTLE KAGEYAMA, ERIC                     )
MARPLE, BRIAN MOODY, EMILY                 )
NANKIVELL, JOSHUA SCHWARTZ,                )
and JEREMY SEVERSON,                       )
                                           )
             Plaintiffs,                   )
      vs.                                  )
                                           )
LLOYD AUSTIN, III, in his official         )
                                               CASE NO.
capacity as Secretary of Defense, U.S.     )
Department of Defense                      )
                                               COMPLAINT FOR
                                           )
                                               DECLARATORY AND
FRANK KENDALL, in his official             )
                                               INJUNCTIVE RELIEF
capacity as Secretary of the Air           )
Force, Department of the Air Force,        )
                                           )
KARL SCHULTZ, in his capacity as           )
Commandant of the Coast Guard,             )
                                           )
CARLOS DEL TORO, in his official           )
capacity as Secretary of the Navy,         )
Department of the Navy, and                )
                                           )
CHRISTINE WORMUTH, in her                  )
official capacity as Secretary of the      )
Army, Department of the Army,              )
                                           )
            Defendants.                    )
 Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 2 of 94 PageID 2




                                        TABLE OF CONTENTS
INTRODUCTORY STATEMENT ....................................................................... 1
PARTIES .............................................................................................................. 9
JURISDICTION AND VENUE ......................................................................... 22
STATEMENT OF FACTS ................................................................................. 23
I. COVID-19 background ................................................................................. 23
  A. COVID-19 Discovery and Public Health Emergency ............................. 23
  B. COVID-19 Mortality Risks ....................................................................... 23
  C. COVID-19 Risks for DOD Military Personnel ........................................ 24
II. FEDERAL VACCINE MANDATES ............................................................ 24
III.THE DOD MANDATE AND ARMED SERVICES GUIDANCE ............... 26
  A. DOD Mandate ........................................................................................... 26
  B. Armed Services Guidance ........................................................................ 27
  1. Vaccination Requirements & Deadlines.................................................. 27
  2. Interchangeability of EUA and Licensed Vaccines................................. 28
  3. Medical Exemptions & Previous Infections ............................................ 29
  4. Religious Accommodation Requests ........................................................ 29
  5. Disciplinary Actions for Vaccine Refusal ................................................ 30
  C. UCMJ Sanctions for Vaccine Refusal ...................................................... 31
IV. FDA EMERGENCY USE AUTHORIZATION AND LICENSING OF
   COVID-19 TREATMENTS ........................................................................... 31
  A. FDA Emergency Use Authorization for COVID-19 Vaccines ................ 31
  B. Informed Consent Requirements for EUA Products .............................. 32
  C. FDA Vaccine Licensing and Approval ..................................................... 33
  D. FDA Comirnaty Approval and BioNTech EUA Expansion Letters ....... 34
  E. Differences Between EUA and Licensed Vaccines ................................. 35
  F. Pfizer/BioNTech Safety and Efficacy Data Reviewed by FDA ............... 36
V. SCIENTIFIC EVIDENCE AND ADMINISTRATIVE ACTIONS FOR
   COVID-19 mRNA “VACCINES” .................................................................. 39
  A. Novel Technology ...................................................................................... 39
 Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 3 of 94 PageID 3




  B. Evidence of Rapidly Decreasing Efficacy ................................................ 41
  C. Vaccine Injuries and Side Effects ............................................................ 45
  D. Fluid Definition of “Vaccine,” “Vaccination” & “Fully Vaccinated” ....... 46
  E. “Fully Vaccinated” Spread COVID-19 & Lack of Evidence for Public
  Health Benefits from Vaccination .................................................................. 48
  1. COVID-19 “Vaccines” Do Not Prevent Infection & Transmission. ........ 48
  2. Equal or Greater Risk of Infection by “Fully Vaccinated” Compared to
  Unvaccinated. .................................................................................................. 49
  3. Lack of Evidence That COVID-19 Spread by Unvaccinated Individuals
  with Natural Immunity .................................................................................. 51
  4. Quarantine & Testing Provide Equal or Greater “Protection.” ............. 52
  F. Natural Immunity Provides Superior Protection to Vaccination. ......... 53
  G. Alternative and Effective Treatments for COVID-19 ............................. 55
VI.    PLAINTIFFS RELIGIOUS ACCOMMODATION REQUESTS ............ 57
  A. Plaintiffs’ Sincerely Held Religious Beliefs ............................................. 57
  B. COVID-19 Vaccines Are Critically Dependent on, and Could Not Exist
  but for, the Use of Aborted Fetal Cell Tissue. ............................................... 59
  C. Plaintiffs Religious Accommodation Requests Have Been Denied. ....... 61
  D. Defendants Have Systematically Denied Religious Accommodation
  Requests........................................................................................................... 61
VII.  PLAINTIFFS WILL SUFFER CONCRETE AND PARTICULARIZED
   HARM AS A DIRECT RESULT OF DEFENDANTS’ ACTIONS .............. 62
 VIOLATION OF INFORMED CONSENT RIGHTS ..................................... 63
 VIOLATIONS OF APA & PROCEDURAL REQUIREMENTS ................... 66
 VIOLATION OF FIFTH AMENDMENT DUE PROCESS CLAUSE .......... 73
 VIOLATION OF FIFTH AMENDMENT EQUAL PROTECTIONCLAUSE76
 VIOLATION OF NO RELIGIOUS TEST CLAUSE ...................................... 81
 VIOLATION OF FIRST AMENDMENT FREE EXERCISE CLAUSE ....... 83
 VIOLATION OF RELIGIOUS FREEDOM RESTORATION ACT .............. 85
RELIEF REQUESTED ...................................................................................... 88
CERTIFICATE OF SERVICE ........................................................................... 90
 Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 4 of 94 PageID 4




                           LIST OF EXHIBITS

EXHIBIT 1: Plaintiffs’ Declarations
EXHIBIT 2: Secretary of Defense Memorandum (Aug. 24, 2021)
EXHIBIT 3: Comirnaty Approval Letter (Aug. 23, 2021)
EXHIBIT 4: Summary Basis of Regulatory Action – Comirnaty (Aug. 23, 2021)
EXHIBIT 5: FDA BioNTech EUA Expansion Letter (Aug. 23, 2021)
EXHIBIT 6: Army Regulation 40-562
EXHIBIT 7: Air Force Guidance (Sept. 3, 2021)
EXHIBIT 8: Army Guidance (FRAGO 5) (Sept. 14, 2021)
EXHIBIT 9a: Marine Corps Guidance MARADMIN 462/21 (Sept. 1, 2021)
EXHIBIT 9b: Marine Corps Guidance MARADMIN 533/21 (Oct. 7, 2021)
EXHIBIT 10a: Navy Guidance ALNAV 062/21 (Aug. 30, 2021)
EXHIBIT 10b: Navy Guidance NAVADMIN 190/21 (Sept. 1, 2021)
EXHIBIT 10c: Navy Guidance NAVADMIN 225/21 (Oct. 14, 2021)
EXHIBIT 11: DOD Surgeon Generals Guidance (Sept. 14, 2021)
EXHIBIT 12: President Biden Mandate Remarks (Sept. 9, 2021)
EXHIBIT 13: FDA BioNTech EUA Vaccine Fact Sheet (Aug. 23, 2021)
EXHIBIT 14: Declaration of Dr. Peter McCullough
EXHIBIT 15: Sara Oliver VRBPAC Presentation (Sept. 17, 2021)
EXHIBIT 16: CDC FOIA Response (Nov. 5, 2021)
EXHIBIT 17: CDC FOIA Response (Emails from Aug. 13, 2021 - Sept. 1, 2021)
EXHIBIT 18: “The FDA Approval Process: Remdesivir vs. Ivermectin”
EXHIBIT 19: Compliance Notice, M.D. Fla. No. 8:21-cv-2429, ECF No. 34
EXHIBIT 20: Marks Declaration, N.D. Fla. 3:21-cv-1211, ECF No. 31-13
EXHIBIT 21: Doe v. Austin, Order Denying Preliminary Injunction Motions,
No. 3:21-cv-1211 (N.D. Fla. Nov. 12, 2021)
EXHIBIT 22: NIH-Pfizer Announce Comirnaty Unavailability (Sept.13, 2021)
EXHIBIT 23: Office of Legal Counsel, Vaccine Mandate Opinion (July 6, 2021)
EXHIBIT 24: Summary Basis of Regulatory Action – Comirnaty (Nov. 8, 2021)
    Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 5 of 94 PageID 5




        Plaintiffs, by and through the undersigned counsel, hereby complain

and allege the following:

                        INTRODUCTORY STATEMENT

        1.    Plaintiffs are a group of service members, on active duty or in the

reserves, from each branch of the armed services. Plaintiffs allege that the

August 24, 2021 Department of Defense (“DOD”) COVID-19 vaccine mandate 1

(“DOD Mandate”) is unconstitutional in that the DOD Mandate: (1) exceeds

the Secretary’s statutory authority; (2) violates the Administrative Procedures

Act (“APA”), 5 U.S.C. § 551 et seq.; (3) modifies or partially repeals existing

regulations governing immunization and medical and religious exemptions,

without constitutional due process or following procedures required by law;

and (4) violates the statutes and federal regulations requiring informed

consent for treatments subject to an emergency use authorization (“EUA”). See

10 U.S.C. § 1107a and 21 U.S.C. § 360bbb-3. Further, the Defendants’

exemption      procedures   and   threats   of   severe   punishment,   including

dishonorable discharge and potential imprisonment, violates Plaintiffs’ rights

under the First and Fifth Amendments to the U.S. Constitution, the No




1See Ex. 2, Secretary of Defense Lloyd Austin, III (“SECDEF”), “Memorandum for
Senior Pentagon Leadership, Mandatory Coronavirus Disease 2019 Vaccination of
Department of Defense Service Members” (Aug. 24, 2021) (“SECDEF Memo”).
                                        1
    Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 6 of 94 PageID 6




Religious Test Clause of Article VI, Section 3, as well as the Religious Freedom

Restoration Act (“RFRA”). 42 U.S.C. § 2000bbb, et seq.

        2.    DOD Mandate. The DOD Mandate, in reliance on the Food and

Drug      Administration’s   (“FDA”)    August     23,   2021    licensure   of   the

Pfizer/BioNTech Comirnaty vaccine, 2 imposes the unprecedented requirement

that 100% of service members be “fully vaccinated” with an FDA-licensed

vaccine. See Ex. 2, DOD Mandate, at 1. Service members with previous

infections and other medical conditions eligible for exemption under existing

Army Regulation 40-5623 “are not considered fully vaccinated” or exempted.

Id.

        3.    Armed Services Guidance. Each of the Armed Services has

issued implementation guidance that, among other things, sets forth

deadlines, religious and medical exemption procedures, and consequences for

vaccine refusal. See Section III.B (“Armed Services Guidance”). Service



2 See Ex. 3, FDA, BL 125742/0, Comirnaty Vaccine BLA Approval (Aug. 23, 2021)
(“Comirnaty Approval Letter”). See also Ex. 4, FDA, Summary Basis of Regulatory
Action, BLA 125742/0 (Aug. 23, 2021) (“August 23 Comirnaty SBRA”). On the same
day, the FDA re-issued and expanded the EUA for the BioNTech Vaccine for “booster”
shots to certain individuals because the licensed product, Comirnaty, is “not …
available.” See Ex. 5, FDA, Pfizer-BioNTech EUA Letter at 5 n.9 (Aug. 23, 2021)
(“BioNTech EUA Expansion Letter”).
3See Ex. 6, Army Regulation 40-562, “Immunizations and Chemoprophylaxis for the
Prevention of Infectious Diseases” (7 Oct. 2013) (“AR 40-562”). AR 40-562 applies with
equal force to each of the Armed Services active and reserve components. See AR 40-
562, ch. 3 (7 Oct. 2013).
                                          2
    Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 7 of 94 PageID 7




members who decline vaccination may face the full range of administrative and

disciplinary sanctions under the Uniform Code of Military Justice (“UCMJ”)

including     separation,   dishonorable       discharge,   and   imprisonment.     If

dishonorably discharged, Plaintiffs will also lose the retirement, veterans and

other government benefits they have earned through long service to their

country, as well as future employment opportunities, and fundamental

constitutional rights.

        4.    Statutory and Regulatory Violations. The Armed Services’

guidance violates the express terms of the DOD Mandate (which permits only

licensed vaccines to be mandated) and informed consent laws insofar as the

service branches mandate the use of EUA vaccines “as if,” or “interchangeably”

with, the licensed Comirnaty Vaccine, which is not available. 4 The DOD

Mandate and the Armed Services Guidance also violate AR 40-562, the APA,

and required DOD procedures, insofar as the services have written out of the

regulations existing medical exemptions for service members like Plaintiffs

who have natural immunity from a previous COVID-19 infection or other


4 On September 13, 2021, the National Institutes of Health (“NIH”) posted an
announcement by Pfizer that Pfizer “does not plan to produce any product with these
new [Comirnaty] NDCs and labels over the next few months while the EUA
authorized product is still available and being made available for U.S. distribution.”
See Ex. 22, NIH-Pfizer Announcement of Comirnaty Unavailability. See also See Ex.
5, BioNTech EUA Expansion Letter at 5 n.9; Ex. 24, Summary Basis of Regulatory
Action – Comirnaty at 5 (Nov. 8, 2021) (“November 8 Comirnaty SBRA”) (“In the U.S.,
there are no licensed vaccines or anti-viral drugs for the prevention of COVID-19.”).
                                           3
 Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 8 of 94 PageID 8




medical conditions that place them at heightened risk from vaccinations.

Defendants’ elimination of the natural immunity exemption, and adoption of

an unprecedented 100% vaccination target, appears to be based on blind faith

in the recommendations of the Centers for Disease Control and Prevention

(“CDC”), which just acknowledged that it has no evidence whatsoever that any

previously infected and recovered person has subsequently infected another

person. See Ex. 16, CDC November 5 FOIA Response.

      5.    First Amendment & Religious Liberty Violations. Plaintiffs

have a fundamental right to exercise their religion free of coercion, and to

participate in the military without discrimination on the basis of religion. On

information and belief, Defendants are intentionally refusing to recognize

Plaintiffs’ rights under both the Free Exercise Clause of the First Amendment

and RFRA. Defendants intend to force Plaintiffs to choose between their

sincerely held religious beliefs, which require them to refuse the currently

available COVID-19 vaccines, and severe punishments for refusing an

unlawful and unconstitutional vaccination mandate. On information and

belief, Defendants intend to purge from the military those with sincerely held

religious objections to this vaccine through, among other things, an invasive

and unconstitutional religious accommodation request questionnaire and

evaluation criteria intended to identify and exclude those with disfavored


                                      4
 Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 9 of 94 PageID 9




beliefs. Together, these measures constitute a prohibited religious test in

violation of the No Religious Test Clause. See U.S. CONST. ART. VI, § 3 (“no

religious Test shall ever be required as a Qualification to any Office or public

Trust under the United States”). The Defendants’ actions prove the unlawful

and exclusionary intent: zero religious accommodation requests have been

granted, while thousands have been denied. See Ex. 19, Defendants’

Compliance Notice.

      6.    Fifth Amendment Equal Protection Violations. The DOD

Mandate is a part of a government-wide program that irrationally creates and

maintains two classes of service members: (1) those who are “fully vaccinated,”

who are presumed to pose no danger to health or readiness; and (2) those who

are not “fully vaccinated,” who are uniformly presumed to be a danger to

everyone (including themselves). Class membership (“fully vaccinated”) is

defined in vague and fluid terms that may change from one day to the next

(i.e., based on FDA or CDC booster shot recommendations) and that is based

on an unsupported and demonstrably false presumption that “full” vaccination

prevents the spread of COVID-19. See infra Section V.E (““Fully Vaccinated”

Spread COVID-19 & Lack of Evidence for Public Health Benefits from

Vaccination”). The DOD Mandate also serves no rational or legitimate purpose

insofar as it threatens expulsion and punishment of tens of thousands of


                                       5
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 10 of 94 PageID 10




service members for refusal to take an unproven, ineffective, and unavailable

experimental treatment based on well-established medical grounds (e.g.,

natural immunity) and/or sincerely-held religious beliefs. Even if it were 100%

effective (which it is not), the treatment would save at most dozens of lives per

year. See infra Section I.C (“COVID-19 Risks for DOD Military Personnel”).

Going forward, the DOD Mandate would bifurcate society into those who may

serve in the U.S. military, and those who are barred from serving.

      7.    Fifth Amendment Due Process Violations. The DOD Mandate

threatens to deprive Plaintiffs of life, liberty and property without the minimal

requirements of constitutional due process. The COVID-19 “vaccines” are

experimental and carry a non-negligible risk of death or serious injury;

conversely, vaccine refusal will end their military careers, bar them from other

federal or private employment, and may result in loss of their freedom, as well

as retirement and other governmental benefits to which they would otherwise

be entitled. The Defendants have also violated Plaintiffs’ due process rights

insofar as they have added a new vaccination requirement, while eliminating

existing exemptions, without notice, procedures required by law, or even

bothering to change the text of existing rules.

      8.    Fluid & Changing Meanings of “Vaccine” and “Fully

Vaccinated.” The DOD has mandated an experimental medical treatment


                                       6
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 11 of 94 PageID 11




that, while referred to as a “vaccine,” fundamentally differs from traditional

vaccines biologically and in its effects; COVID-19 vaccines do not provide

immunity or prevent infection or transmission. In response to the widespread

public recognition of the differences, the CDC changed its definition of

“vaccine” and “vaccination” within a week after FDA’s Comirnaty Approval to

treatments that provide only “protection” rather than “immunity.” See infra

Section V.D (“Fluid Definition of “Vaccine,” “Vaccination” & “Fully

Vaccinated”’”). The DOD is not due any deference for its expertise where it has

outsourced decision-making to the willfully blind CDC, which has intentionally

refused to collect or consider evidence on “breakthrough infections” or natural

immunity that may contradict its preferred policy outcome (i.e., universal

vaccination). See infra Ex. 16, CDC November 5 FOIA Response. The DOD’s

definition of “fully vaccinated”—two doses of Pfizer or Moderna or one dose of

Johnson & Johnson—relies on the CDC’s recommendations that are subject to

change at any time. As soon as the FDA determines that full vaccination

requires a third dose (as in Israel, and as currently proposed in the U.S.), or

additional doses, then all formerly fully vaccinated service members will be

deemed unvaccinated and will be compelled to take however many additional

doses the FDA or CDC recommend that week.




                                      7
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 12 of 94 PageID 12




      9.    Relief Requested. Plaintiffs file this action seeking an

Administrative Stay, Preliminary Injunction and Declaratory Judgment

requesting that this Court:

      (1) Declare the DOD Mandate unlawful, unconstitutional, and in
          violation of federal laws and regulations governing informed consent,
          the APA, and AR 40-562;

      (2) Declare unlawful and enjoin the administration of any EUA-labeled
          or manufactured vaccine pursuant to the DOD Mandate.

      (3) Enjoin any implementation of the DOD Mandate by the Defendant
          Armed Services or other DOD components, or stay the effective date
          for any implementation orders pending resolution by this Court;

      (4) Declare unlawful and unconstitutional the DOD and Armed Services
          requirements and criteria for assessing religious accommodation
          requests;

      (5) Order Defendants to cease targeting Plaintiffs for their religious
          beliefs;

      (6) Order Defendants to grant Plaintiffs’ requests for medical exemptions
          and religious accommodations from the DOD Mandate; and

      (7) Declare the DOD Mandate and Defendants’ implementation thereof
          as unconstitutional, in violation of the No Religious Test Clause, and
          the First and Fifth Amendments of the U.S. Constitution.

      10.   Plaintiffs seek this relief pursuant to the Administrative

Procedures Act, 5 U.S.C. §§ 702 and 705, the Federal Declaratory Judgment

Act, 28 U.S.C. § 2201 and § 2202, the All Writs Act, 28 U.S.C. § 1651, and 42

U.S.C. § 1983.




                                       8
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 13 of 94 PageID 13




                                 PARTIES

      11.   Plaintiffs are active-duty or reserve duty Service members who are

subject to the DOD Mandate, as implemented through the Armed Services

Guidance of the branch in which they serve. Plaintiffs’ declarations provide

additional information regarding their religious and medical exemption

requests, the guidance that they have received (including orders to receive

EUA vaccines in place of licensed vaccines), and administrative and

disciplinary actions.

      12.   Plaintiff HOWARD CROSBY is a Sergeant Major (“SGM”) in the

US Army Reserves. He is domiciled in Brandon, Florida, and currently

stationed in Texas. He has honorably served the United States of America for

23 years, and he has been awarded the U.S. Central Command star performer

award from General (now SECDEF) Austin, Defense Meritorious Service

Medal, Joint Commendation Medal, Army Commendation Medal, the Joint

Service Achievement Medal, as well as many others. SGM CROSBY is willing

to take the FDA-licensed Comirnaty vaccine, but not the EUA BioNTech

Vaccine. Despite the fact that he has never declined immunization with an

FDA-licensed Comirnaty vaccine, on October 12, 2021, he received counseling

from his commanding officer for vaccine refusal. Subsequently, he has been

unlawfully pressured to sign counseling statements and he has been

threatened with a letter of reprimand, receiving a less than honorable
                                      9
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 14 of 94 PageID 14




discharge, and loss of retirement and veterans benefits to which he is entitled.

He has not been on duty since June 2021, and his command’s action raise

serious questions as to whether he can be counseled or otherwise sanctioned

under the UCMJ while not on duty. He has not pursued a religious or medical

exemption due to his belief that the vaccine mandate is an unlawful order.

      13.   Plaintiff GARY BODONY is a Lieutenant Colonel (“LTC”) in the

Kansas Air National Guard. He is domiciled and currently stationed in Kansas.

He has served for 19 years as a Combat Pilot and an Inspector General. He has

received numerous commendations including Air Force Commendation

Medals, Meritorious Unit Award, AF Outstanding Unit Award, Combat

Readiness Medal, National Defense Service Medal, and the Global War on

Terrorism Service Medal. LTC BODONY has filed a religious accommodation

request, which is still pending. He is being threatened with a dishonorable

discharge for his refusal to receive the COVID-19 vaccination. He also has

natural immunity from a documented previous COVID infection, including a

positive antibody test. Along with the threat of dishonorable discharge after

serving his country for 19 years, he also faces the loss of retirement benefits,

veterans and other governmental benefits, even though he is eligible for

retirement in less than three months on February 22, 2022.




                                      10
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 15 of 94 PageID 15




      14.   Plaintiff ERIC BURGESS is a Logistics Readiness Officer in the

Michigan Air National Guard (as well as Department of the Army Civil Service

employee). He is domiciled and stationed in Michigan. MR. BURGESS has

served for over 16 years. He has deployed to the Middle East twice for

Operation Iraqi Freedom/Enduring Freedom and Operation Inherent Resolve,

and he has been awarded a Force Commendation Medal, three Air Force

Achievement Medals, and five Meritorious Service Medals, among many

others. MR. BURGESS has a previous documented COVID-19 infection in

June 2020, but due to Air Force policy is not eligible for medical exemption. He

has submitted a religious accommodation based on his sincerely held religious

beliefs and refusal to participate in the act of evil underlying the vaccines’

development. Despite being recommended for approval by his chaplain, he has

been informed by his Commander that it will almost certainly be denied,

regardless of its contents, merits, or sincerity, and that submission will result

in administrative separation. The terms of his separation will likely result in

the loss of both the Air Force Time in Service benefits to which he is entitled,

as well as the loss of his Civil Service position, pension, and benefits.

      15.   Plaintiff JESSICA CALDWELL is a Master Sergeant (“MSGT”) in

the United States Air Force Reserve. She is domiciled in Nevada and currently

stationed in Georgia. She has served for 16 years and has received multiple


                                        11
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 16 of 94 PageID 16




high-level achievement awards, including the U.S. Air Force Special

Recognition Ribbon. On September 28, 2021, MSGT CALDWELL submitted

her request for religious accommodation, which was denied on October 27,

2021. MSGT CALDWELL is also in remission from cancer; when she brought

up her medical concerns regarding vaccination, she was advised that her

history of cancer would not be grounds for medical exemption.

      16.   Plaintiff JEFFREY COMRIE is a Captain (“CAPT”) in the United

States Marine Corps. He is domiciled and stationed in North Carolina. CAPT

COMRIE has served his country for five years, earning his Marine Corps wings

as a MV-22 (Osprey) pilot in November 2019, as well as the Global War on

Terror Service Medal and the National Defense Service Medal. CAPT COMRIE

tested positive for COVID-19 on March 12, 2021, but due to Marine Corps

policy is not eligible for exemption on that ground, nor on the grounds that the

experimental vaccines may interfere with a documented fertility condition. He

submitted his request for a religious accommodation on September 10, 2021,

which was denied. If CAPT COMRIE’s appeal is denied, he will face a Board of

Inquiry followed by the potential of an Administrative Discharge with a service

Characterization of General Under Honorable Conditions, which would result

in the denial of veterans and other governmental benefits and damage his

future employment prospects. Due to his submission of a religious


                                      12
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 17 of 94 PageID 17




accommodation request, he has already been denied the opportunity to deploy

with his unit; even if his appeal is granted, he will still likely be ineligible for

future deployments or promotion.

      17.   Plaintiff PAUL DEE is a Captain in the United States Navy. He is

domiciled in New Jersey and is currently the Commanding Officer of the New

York Navy Reserve Center New York City. CAPT DEE has served honorably

for 28 years, and has been awarded the Defense Meritorious Service Medal,

three Meritorious Service Medals, the Joint Service Commendation Medal, two

Navy Commendation Medals, one Army Commendation Medal, and three

Navy Achievement Medals. After release of the SECDEF Memo, he was urged

by his command to be vaccinated by September 2, 2021, despite the

unavailability of the licensed vaccine. CAPT DEE submitted a religious

accommodation request on August 30, 2021, which was recommended for

denial on September 17, 2021. He has also submitted a request to resign his

command September 7, 2021, with a May 1, 2022 retirement date to ensure

that he remained within the 180-day administrative exemption under AR 40-

562/BUMEDINST 6230.15B. His Commanding Officer urged him to request a

November 28, 2021 retirement date, or else face Detach for Cause (“DFC”)

proceedings; CAPT DEE has now received a DFC request, which may result in

criminal charges and dishonorable discharge.


                                        13
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 18 of 94 PageID 18




     18.   Plaintiff BRIAN R. DUFFY is an Ensign (“ENS”) in the United

States Navy and a U.S. Navy SEAL. He is domiciled and currently stationed

in California. He has honorably served his country for fourteen years. During

this time, he has completed two combat deployments in the Middle East; he

was selected for the highly competitive commissioning program “Seaman to

Admiral” in 2017; and he has received a Joint Commendation Medal, Army

Achievement, two Navy Achievement Medals, Campaign medals for Inherent

Resolve, Global War on Terror, and Operation Freedom Sentinel. On

September 30, 2021, ENS DUFFY requested a religious exemption, which was

denied on November 1, 2021. Despite having a documented previous COVID-

19 infection, Naval Special Warfare will not grant or consider a medical

exemption; and any medical exemption would automatically disqualify ENS

DUFFY from being a SEAL.

     19.   Plaintiff ALLEN HALL is Senior Master Sergeant (SMSGT/E-8)

in the United States Air Force Active Guard Reserve (“AGR”) program. He is

domiciled in Georgia and stationed in Ohio. SMSGT HALL has served

honorably for 21 years. His awards and decorations include the Meritorious

Service Medal, the Air Force Commendation Medal (with one device), the Air

Reserve Forces Meritorious Service Medal (with 5 devices), and the Global War

on Terrorism Service Medal. On October 12, 2021, SMSGT HALL submitted a


                                     14
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 19 of 94 PageID 19




request for a temporary religious exemption (120 days) that would be valid only

long enough for his requested retirement date of May 30, 2022. On October 27,

2021, his request was denied. SMSGT HALL was given 72 hours to submit an

appeal, which he did on October 30, 2021; his appeal is still pending

      20.    Plaintiff NICHOLAS HALLMARK is a Chief Gunners Mate

(“CGM”) in the United States Coast Guard. He is domiciled and currently

stationed in Texas. CGM HALLMARK is a 21-year veteran of the United

States Coast Guard, earning four Coast Guard Achievement Medals, seven

Coast Guard Good Conduct Medals, the Iraq Campaign Medal, the Global War

on Terrorism Medal, the Global War on Terrorism Expeditionary Medal and

two Coast Guard Overseas Service Medals. On October 13, 2021, CGM

HALLMARK was informed that his request for medical exemption based on a

previous documented COVID-19 infection had been denied. Also, on October

13, 2021, he received disciplinary paperwork ordering him to report to his

base’s clinic to receive the first dose of an FDA-approved vaccine, but he did

not receive a vaccine because the FDA-licensed Comirnaty vaccine was not

available. He has subsequently received additional written disciplinary actions

for vaccine refusal, including 50-mile travel restrictions and denial of

promotion, loss of approved retirement date, and a less than Honorable

discharge.


                                      15
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 20 of 94 PageID 20




     21.   Plaintiff JOHN HYATT is Chief Warrant Officer-4 (“CWO-4”) in

the United States Marine Corps. He is domiciled and currently stationed in

Hawaii. CWO-4 HYATT has proudly served in the United States Marine Corps

for the past 26 years, and has been awarded three Meritorious Service Medals,

three Navy and Marine Corps Commendation Medals, one Navy and Marine

Corps Achievement Medal, one Global War on Terrorism Service Medal, four

Marine Corps Good Conduct Medals, two National Defense Medals, and many

other awards and commendations. On September 8, 2021, CWO-4 HYATT was

informed that the vaccination deadline was September 9, 2021. After

confirming with his base’s medical facility that the FDA-licensed Comirnaty

vaccine was not available there or anywhere else in Hawaii, he challenged the

legality of the order. On October 6, 2021, CWO-4 HYATT submitted a religious

accommodation request, which is still pending.

     22.   Plaintiff MICHAEL JACOBELLIS is a Major (“MAJ”) in the

United States Marine Corps with twelve years of service currently serving as

an Air Defense Officer at Camp Humphreys, South Korea. His professional

achievements include the Navy and Marine Corps Achievement Medal, the

Navy and Marine Corps Commendation Medal (with one device) and

recognition as the Marine Corps Aviation Association Command and Control

Officer of the Year in 2017. On September 14, 2021, MAJ JACOBELLIS


                                     16
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 21 of 94 PageID 21




submitted a religious accommodation request, which was denied October 7,

2021. When MAJ JACOBELLLIS challenged the legality of the order based on

the unavailability of the FDA-licensed Comirnaty vaccine, he was informed

that he will be required to take an EUA vaccine if Comirnaty remains

unavailable. He is also willing to take a vaccine that uses traditional

technology (e.g., Novavax), rather than mRNA technology, as soon as it is

available, and FDA approved. As of November 28, 2021, MAJ JACOBELLIS

faces administrative separation and loss of veterans, retirement, health and

other benefits. This would impose a severe hardship because he has a child

who is reliant on his military medical benefits for follow-on care after being

born with a congenital heart defect that required open-heart surgery four days

after the child was born.

      23.   Plaintiff KRYSTLE KAGEYAMA is a Lieutenant Commander

(“LCDR”) in the United States Navy Reserves. She is domiciled in Virginia and

currently stationed in Nebraska. LCDR KAGEYAMA has served for over 18

years, and she has been awarded an Afghanistan Campaign Medal, two Armed

Forces Reserve Medals with “M” Device, one Global War on Terrorism

Expeditionary Medal, two Joint Service Commendation Medals, three Navy

and Marine Corps Achievement Medals, as well as many others. She has been

selected as Commander for FY22, but due this promotion has been delayed or


                                     17
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 22 of 94 PageID 22




denied due to vaccine refusal. On October 17, 2021, LCDR KAGEYAMA

submitted her request for religious exemption and accommodation, which is

still pending.

      24.   Plaintiff ERIC MARPLE is a Major in the United States Army. He

is domiciled and stationed in Kentucky. MAJ MARPLE has served on active

duty, in the reserves and inactive ready reserves since 2000. MAJ MARPLE is

Doctor of Osteopathic Medicine, internal medicine residency trained,

gastroenterology fellowship trained, and double board certified. He was

counseled for vaccine refusal starting on September 20, 2021. He submitted his

request for religious exemption on September 24, 2021, which is currently

pending. As a physician, he is opposed to vaccination because he believes he

has natural immunity from a previous infection; because he is a 40-year old

physician in good health with minimal risk factors; and because the risks

outweigh the benefits for someone in his age and risk categories.

      25.   Plaintiff BRIAN MOODY is a Major in the Pennsylvania Air

National Guard Major (Active Guard Reserve). He is domiciled and currently

stationed in Pennsylvania. MAJ MOODY has exemplary service to the United

States as an enlisted airman and Air Force Officer and pilot for almost 20

years, serving in seven combat deployments, including active duty as part of

Operation Enduring Freedom. He has been awarded the Meritorious Service


                                      18
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 23 of 94 PageID 23




Medal, four Air Medals, the Aerial Achievement Medal, the Air Force

Commendation Medal, the National Defense Service Medal, and many other

awards and commendations. On October 13, 2021, MAJ MOODY has

submitted a religious accommodation request, which is still pending; he has

been informed that even if approved, however, he would not be deployable and

therefore no longer useful and should leave the service. MAJ MOODY also has

a documented previous COVID infection, but he has not submitted a medical

exemption due to the Air Force’s categorical elimination of this previously

available exemption.

      26.   Plaintiff EMILY NANKIVELL is a Major in the United States Air

Force Reserves. She is domiciled and currently stationed in Ohio. MAJ

NANKIVELL has served her country in the United States Armed Forces for

over 18 years, and she has been a C-17 pilot for the last 12 years. She served a

one-year deployment to Iraq, volunteered for the Army Honor Guard, and flew

64 combat sorties in and out of tactical war zones. She has been awarded a

Combat Air Medal, Army Achievement Medal, and an Honor Guard Volunteer

Service Award. On November 1, 2021, her request for religious exemption was

denied. On November 9, 2021, MAJ NANKIVELL subsequently filed an

appeal, which is still pending disposition.




                                       19
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 24 of 94 PageID 24




      27.   Plaintiff JOSHUA SCHWARTZ is a Petty Officer First Class

(“PO1”) in the United States Navy. He is domiciled and is currently stationed

in California. PO1 SCHWARTZ has honorably served his country in the United

States Navy for the past eight years. He has been awarded a Navy and Marine

Corps Achievement Medal, a National Defense Service Medal, two Good

Conduct Medals, a Global War on Terrorism Service Medal, and a Sea Service

Deployment Ribbon. On September 14, 2021, PO1 SCHWARTZ submitted a

request through his chain of command for medical exemption, based on his

previous documented COVID-19 infection and positive antibody test, but the

application was not submitted or included in his medical records. As a result

of declining to take the unlicensed vaccine, he has received a Page 13

counseling statement, will be removed from his duties as an instructor on

November 14, 2021, and will begin administrative separation and discharge

process on November 28, 2021.

      28.   Plaintiff JEREMY SEVERSON is an LCDR in the United States

Navy. He is domiciled in Milton, Florida, and is currently stationed in Virginia.

LCDR SEVERSON has 18 years of honorable and faithful service, after

enlisting in 1999 and then as an Officer after graduating from the United

States Naval Academy in 2007, earning both Navy and Marine Corps

Achievement Medals and the Navy Commendation Medal. LCDR SEVERSON


                                       20
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 25 of 94 PageID 25




has a previous documented COVID-19 infection, diagnosed on December 12,

2020, but did not submit a request for medical exemption because his primary

care physician advised him that the Navy does not recognize previous infection

as a ground for medical waiver. On September 17, 2021, he submitted a

religious accommodation request, which was denied November 1, 2021. As of

November 28, 2021, he faces dismissal from the Navy and a service

characterization less than HONORABLE.

      29.   Defendant DOD is a Department of the United States

Government. It is led by the Secretary of Defense, Lloyd J. Austin, III, who

issued the DOD Vaccine Mandate.

      30.   Defendant Department of the Air Force is a Department of the

United States Government. It is led by the Secretary of the Air Force Frank

Kendall.

      31.   Defendant Department of the Army is a Department of the United

States Government. It is led by the Secretary of the Army Christine Wormuth.

      32.   Defendants Marine Corps and Navy are under the Department of

the Navy, which is a Department of the United States Government. It is led by

Navy Secretary Carlos Del Toro.




                                     21
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 26 of 94 PageID 26




      33.   Defendant United States Coast Guard is under the Department of

Homeland Security, which is a Department of the United States Government.

It is led by Commandant Admiral Karl L. Schultz.

                        JURISDICTION AND VENUE

      34.   This case arises under federal law, namely the First, Fifth, Ninth,

and Fourteenth Amendments of the United States Constitution, U.S. C ONST.

ART VI, § 3; U.S. CONST. AMENDS. I & V; the APA, 5 U.S.C. § 551, et. seq.; 10

U.S.C. § 1107a; 21 U.SC. § 360bbb-3; the RFRA, 42 U.S.C. § 2000bb-1, et seq.;

and AR 40-562.

      35.   The DOD Mandate and Armed Services Guidance are final agency

actions for which there is no other adequate remedy in a court. 5 U.S.C. § 704.

These actions mark the consummation of the agency’s decision-making process

with respect to the DOD’s imposition of a vaccine mandate.

      36.   Jurisdiction is proper in this Court under the Administrative

Procedures Act, 5 U.S.C. § 702, and under 28 U.S.C. § 2201, which states that

actions involving controversies with federal agencies may be pursued in any

United States District Court, and under 28 U.S.C. §§ 1331 and 1346.

      37.   Venue is proper in this Court pursuant to 28 U.S.C. §1402 and 28

U.S.C. § 1391(e) because certain Plaintiffs are stationed at and/or domiciled in

this district, and because a substantial part of the act or omissions giving rise


                                       22
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 27 of 94 PageID 27




to the claim, have or will occur in this district, unless this Court grants the

relief requested herein.

                           STATEMENT OF FACTS

I.    COVID-19 BACKGROUND

      A.    COVID-19 Discovery and Public Health Emergency

      38.   On January 29, 2020, the White House Coronavirus Task Force

was established to oversee and coordinate the Trump Administration’s

response to COVID-19. On January 31, 2020, as a result of confirmed cases of

COVID-19, HHS Secretary Azar determined that a public health emergency

existed as of January 27, 2020, pursuant to Section 319 of the PHSA, 42 U.S.C.

§ 247d et seq.

      B.    COVID-19 Mortality Risks

      39.   The mortality risk for those infected with SARS-CoV-2 is not the

same for all age groups. Older patients are at higher risk of death if infected,

while younger and healthier patients face a vanishingly small risk. The CDC’s

best estimate of the infection fatality rate for people ages 18-49 years is under

0.06% (34,171 deaths out of 60,461,355 cases), meaning that young adults have

a 99.94% survivability rate.

      40.   Based on data available through June 27, 2021, for each 18-29

year-old that dies from COVID-19, four (4) 30-39 year old individuals die, ten

(10) 40-49-year-olds, thirty-five (35) 50-64-year-olds die, ninety-five (95) 65-74-

                                        23
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 28 of 94 PageID 28




year-olds die, 230 75-84-year-olds die, and 610 over 85 years of age die. See Ex.

14, McCullough Decl., Table 2.

      C.    COVID-19 Risks for DOD Military Personnel

      41.   As of October 27, 2021, there have been a total of 249,858 cases

among military personnel since the beginning of the pandemic in January 2020

(i.e., approximately 20 months). Of these, 2,266 (or less than one percent) were

hospitalized, with a total of 71 deaths (i.e., less than 0.03 percent or less than

one per 3,500 cases).5      It is important to note that this low rate of

hospitalizations and deaths were achieved with essentially no COVID-19

treatment of these service members, which could have dramatically reduced

deaths. See infra Section V.G (“Alternative and Effective Treatments for

COVID-19”).

II.   FEDERAL VACCINE MANDATES

      42.   On September 9, 2021, President Biden announced a series of

executive orders and administrative actions that would impose vaccine

mandates on “100 million Americans – two thirds of all workers.” 6 First, he




5 See U.S. Department of Defense, “Coronavirus: DOD Response,” Table “DOD
COVID-19            Cumulative            Totals,”        available            at:
https://www.defense.gov/Explore/Spotlight/Coronavirus-DOD-Response/ (last visited
Nov. 1, 2021).
6See Ex. 12, President Joseph R. Biden, Remarks by President Biden on Fighting the
COVID-19         Pandemic        (Sept.    9,       2021),      available       at:
https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-
                                        24
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 29 of 94 PageID 29




issued Executive Order 14,043, which requires vaccination for all federal

employees,7 and Executive Order 14,042, requiring vaccination for all federal

contractors.8 Second, he announced the expansion of an existing vaccination

mandate9 to cover 17 million healthcare workers. See Ex. 12, Biden Mandate

Statement, at 5.

      43.   In the same speech, President Biden announced that he had

directed the Occupational Health & Safety Administration (“OSHA”) to take

the extraordinary step of issuing a new emergency temporary standard (“ETS”)

“to require all employers with 100 or more employees . . . to ensure their

workforces are fully vaccinated or show a negative test at least once a week”

(“OSHA Mandate”) that would cover 80 million workers. Id. at 5. On November

5, 2021, the OSHA Mandate was published in the Federal Register,10 but was

stayed one week later by the Fifth Circuit because the OSHA Mandate “runs

afoul of the statute from which [OSHA] draws its power and, likely, violates



by-president-biden-on-fighting-the-covid-19-pandemic-3/ (last visited Nov. 8, 2021)
(“Biden Mandate Statement”).
7See Exec. Order 14,043, 86 Fed. Reg. 50,989, “Requiring Coronavirus Disease 2019
Vaccination for Federal Employees” (Sept. 9, 2021) (“Federal Employee Mandate”).
8 See Exec. Order 14,402, 86 Fed. Reg. 50,985, “Ensuring Adequate COVID Safety
Protocols for Federal Contractors” (Sept. 9, 2021) (“Federal Contractor Mandate”).
9See OSHA, Interim Final Rule, Occupational Exposure to COVID-19; Emergency
Temporary Standard, 86 Fed. Reg. 32,376 (June 21, 2021).
10See OSHA, Interim Final Rule, COVID-19 Vaccination and Testing; Emergency
Temporary Standard, 86 Fed. Reg. 61,402 (Nov. 5, 2021).
                                        25
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 30 of 94 PageID 30




the constitutional structure that safeguards our collective liberty.” See BST

Holdings, LLC v. OSHA, --- F.4th ---, 2021 WL 5279381, at *9 (5th Cir. Nov.

12, 2021) (“OSHA”).

III. THE DOD MANDATE AND ARMED SERVICES GUIDANCE
      A.    DOD Mandate

      44.   On August 24, 2021, SECDEF issued the DOD Mandate, directing

the Secretaries of the Military Departments “to immediately begin full

vaccination of all members of the Armed Forces … who are not fully vaccinated

against COVID-19.” Ex. 2, DOD Mandate, at 1. The Secretary further directed

that mandatory vaccination “will only use COVID-19 vaccines that receive full

licensure from the [FDA], in accordance with FDA labeling and guidance,” 11

and that vaccination requirements are “to be implemented consistent with DoD

Instruction 6205.02.” Id. The SECDEF Memo does not cite any statute,

regulation, executive order, or any other legal basis for the DOD’s authority to

issue the mandate.

      45.   The only service members expressly exempted are those “actively

participating” in vaccine trials. Id. “Those with previous COVID-19 infection



11This statement from the SECDEF Memo is consistent with the DOD position
reported in the July 6, 2021 Memorandum Opinion for the Deputy Counsel to the
President, Whether Section 564 for the Food, Drug, and Cosmetic Act Prohibits
Entities from Requiring the Use of a Vaccine Subject to an Emergency Use
Authorization (July 6, 2021) (“OLC EUA Opinion”) (attached as Ex. 23).
                                      26
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 31 of 94 PageID 31




are not considered fully vaccinated,” id., nor are they provided a medical

exemption. The SECDEF Memo does not mention AR 40-562, the medical

exemptions provided thereunder, or the legal basis for SECDEF’s action; nor

is there any suggestion that the SECDEF Memo repeals, modifies, or waives

AR 40-562 or any other currently effective rule, regulation, directive, or

instruction.

      B.       Armed Services Guidance

               1.    Vaccination Requirements & Deadlines

      46.      For the Air Force, unless exempted, all active-duty personnel must

be fully vaccinated by November 2, 2021, and all reserve and National Guard

components must be fully vaccinated by December 2, 2021. 12 All active-duty

Army personnel are required to be fully vaccinated by December 15, 2021, and

all reserve component personnel are required to be fully vaccinated by June

30, 2022.13 All active-duty Navy personnel are required to be fully vaccinated

by November 28, 2021, and all reserve component personnel are required to be

fully vaccinated by December 28, 2021. 14 The same deadlines apply for the


12See Ex. 7 Dept. of the Air Force, Deputy Director of Staff for COVID-19, “COVID-
19 Mandatory Vaccination Implementation Guidance for Service Members” (Sept. 3,
2021) (“Air Force Guidance”); Secretary of Air Force Memorandum for Air Force
Commanders (Sept. 3, 2021).
13See Ex. 8, Dept. of the Army, Fragmentary Order 5 to Headquarters Dept. of the
Army Executive Order 225-21 (Sept. 14, 2021) (“Army Guidance”).
14See Ex. 10a, Secretary of the Navy, “2021-2022 Department of Navy Mandatory
COVID-19 Vaccination Policy,” ALNAV 062/21 (Aug. 30, 2021) (“Navy Guidance”).
                                        27
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 32 of 94 PageID 32




Marine Corps.15

            2.      Interchangeability of EUA and Licensed Vaccines

      47.   On September 14, 2021, Assistant Secretary of Defense for Health

Affairs Terry Adirim directed Armed Services Surgeons General and DOD

components that “health care providers should use doses distributed under

the EUA to administer the vaccination as if the doses were the licensed

[Comirnaty] vaccine.”16 The Air Force Guidance also expressly directs

healthcare providers to use the EUA BioNTech Vaccine “interchangeabl[y]”

with the licensed product and that “[p]roviders can use doses distributed under

the EUA to administer the vaccination series as if the doses were the licensed

vaccine.” Ex. 7, Air Force Guidance, ¶ 3.1.1 (emphasis added); see also id.,

¶ 5.3.2.1 (same).




See also Ex. 10b, “2021-2022 Navy Mandatory COVID-19 Vaccination and Reporting
Policy,” NAVADMIN 190/21 (Sept. 1, 2021) (“NAVADMIN 190/21”); Ex. 10c, “COVID-
19 Consolidated Disposition Authority,” NAVADMIN 225/21 (Oct. 14, 2021)
(“NAVADMIN 225/21”).
15 See Ex. 9a, MARADMIN, “Mandatory COVID-19 Vaccination of Marine Corps
Active and Reserve Components,” MARADMINS Number: 462/21 (Sept. 1, 2021)
(“Marine Corps Guidance”); see also Ex. 9b, MARADMIN, “Supplemental Guidance
to Mandatory COVID-19 Vaccination of Marine Corps Active and Reserve
Components,” MARADMINS Number: 533/21 (Oct. 7, 2021) (“MARADMIN 533/21”).
16See Ex. 11, Terry Adirim, Asst. Sec. of Defense Memo to Surgeons General,
Mandatory Vaccination of Service Members Using the Pfizer-BioNTech COVID-19
and Comirnaty COVID-19 Vaccines at 1 (Sept. 14, 2021) (emphasis added) (“Surgeons
General Guidance”). Cf. Ex. 5, FDA BioNTech EUA Expansion Letter, at 2 n.8 (EUA
and licensed product “can” be used interchangeably).
                                       28
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 33 of 94 PageID 33




            3.    Medical Exemptions & Previous Infections

      48.   The Air Force, Navy and Marine Corps categorically deny the AR

40-562 exemption for those with documented previous infections. See Air Force

Guidance, ¶ 4.5.1.2 (“Previous infection or positive serology do not exempt

Service members from full vaccination requirements.”); NAVADMIN 190/21, ¶

3.d.1 (“A history of COVID-19 disease and/or positive serology does not exempt

a Navy service member from receiving a COVID-19 vaccine.”); MARADMINS

462/21, ¶ 3.a (same). The Army Guidance states that “service members with

previous infections or positive serology are not automatically exempt,”

¶ 3.D.8.B.6, and the Army has indicated that it will not grant, or even consider,

requests for exemptions based on previous documented infection. Further,

none of the Armed Services provide exemptions for women who are pregnant

or for other medical conditions eligible for exemption under AR 40-562.

            4.    Religious Accommodation Requests

      49.   The DOD and Armed Services guidance, procedures, and

evaluation criteria for religious accommodation requests are vague at best and

have varied greatly over time and by service (or even by unit) since the

announcement of the DOD Mandate on August 24, 2021. It would not be

possible to provide a meaningful summary of these procedures; instead,

Plaintiffs have attached Defendants’ filings in a proceeding raising similar

religious liberty claims (Navy Seal 1 v. Biden, M.D. Fla. Case No. 8:21-cv-2429)
                                       29
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 34 of 94 PageID 34




summarizing the procedures in effect as of November 12, 2021. See Ex. 19,

Defendants Compliance Notice.17

      50.   Whatever guidance the DOD and Armed Services have provided

regarding religious accommodation requests and the criteria for grant or

denial, the results are unequivocal. The DOD and Armed Services’ records

indicate that well over ten thousand requests have been submitted, and

thousands have been denied, yet to date zero religious accommodation requests

have been granted. See Ex. 19 & infra Section VI.D (“Defendants Have

Systematically Denied Religious Accommodation Requests.”).

            5.    Disciplinary Actions for Vaccine Refusal

      51.   The guidance provided by each of the Armed Services states that

the requirement to be vaccinated is a “lawful order” and that any service

members who refuses to take the vaccine will be subject to the full range of

administrative and disciplinary actions under the UCMJ. See Ex. 7, Air Force

Guidance, ¶ 5.3; Ex. 8, Army Guidance, ¶ 3.D.8.B & Annex 20; Ex. 9a, Marine

Corps Guidance, ¶ 3.1; Ex. 10a, Navy Guidance, ¶ 5.




17See also id. (citing DOD Instruction 1300.17, “Religious Liberty in the Military
Services” (Sept. 1, 2020) (DOD generally); DAFI 52-201, “Religious Freedom in the
Department of the Air Force” (June, 23, 2021) (Air Force); Army Regulation 600-20,
“Army Command Policy” (July 24, 2020) (Army); BUPERSINST 1730.11A (Navy and
Marine Corps)).
                                       30
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 35 of 94 PageID 35




      C.    UCMJ Sanctions for Vaccine Refusal

      52.   Under the UCMJ, a service member who disobeys “any lawful

general order or regulation,” UCMJ § 892(2), Art. 92(2), faces sanctions up to

a court-martial. UCMJ § 892. This punishment may include “dishonorable

discharge, forfeiture of all pay and allowances, and confinement for 2 years.”

Id.

      53.   Dishonorable discharges are typically given for the most serious

offenses such as murder, fraud, desertion, treason, espionage, and sexual

assault. See Manual for Courts-Martial, United States (2019 ed.), R.C.M.

1003(a)(8). A dishonorably discharged veteran may also lose all retirement and

veterans’ benefits and is ineligible for a wide array of other governmental

benefits. Id. Those with a dishonorable discharge lose important civil and

constitutional rights, including the right to bear arms protected by the Second

Amendment of the United States Constitution.

IV.   FDA EMERGENCY USE AUTHORIZATION AND LICENSING OF
      COVID-19 TREATMENTS

      A.    FDA Emergency Use Authorization for COVID-19 Vaccines

      54.   The FDCA authorizes the FDA to issue an EUA for a medical drug,

device, or biologic, where certain conditions have been met. As relevant here,

these are that HHS Secretary has declared a public health emergency that

justifies the use of an EUA, 21 U.S.C. § 360bbb-3(b)(1), and the FDA finds that


                                      31
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 36 of 94 PageID 36




“there is no [1] adequate, [2] approved, and [3] available alternative to the

product for diagnosing, preventing, or treating” the disease in question. 21

U.S.C. § 360bbb-3(c)(3).

      55.    There are significant differences between licensed vaccines and

those subject to EUA that render them “legally distinct.” Ex. 5, BioNTech

Expansion Letter, at 2 n.8. First, the requirements for efficacy are much lower

for EUA products than for licensed products. EUAs require only a showing

that, based on scientific evidence “if available,” “it is reasonable to believe,” the

product “may be effective” in treating or preventing the disease. 21 U.S.C.

§360bbb-3(c)(2)(A). Second, the safety requirements are minimal, requiring

only that the FDA conclude that the “known and potential benefits … outweigh

the known and potential risks” of the product, considering the risks of the

disease. 21 U.S.C. §360bbb-3(c)(2)(B). Third, EUA products are exempt from

certain manufacturing and marketing standards, enjoy broader product

liability protections, and cannot be mandated due to informed consent laws

and regulations.

      B.     Informed Consent Requirements for EUA Products

      56.    The FDA’s grant of an EUA is subject to informed consent

requirements to “ensure that individuals to whom the product is administered

are informed” that they have “the option to accept or refuse administration of


                                         32
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 37 of 94 PageID 37




the product.” 21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(III). 18 For the three COVID-19

vaccines, FDA implemented the “option to accept or refuse” condition described

in Section 564(e)(1)(A)(ii)(III) in each letter granting the EUA by requiring that

FDA’s “Fact Sheet for Recipients and Caregivers” be made available to every

potential vaccine recipient. Each Fact Sheet includes the statement that the

recipient “has the option to accept or refuse” the vaccine. See, e.g., Ex. 13, FDA,

“Fact Sheet for Health Care Providers Administering Vaccine (Vaccination

Providers),” at 9 (Aug. 23, 2021).

      C.    FDA Vaccine Licensing and Approval

      57.   The FDCA generally prohibits anyone from introducing or

delivering for introduction into interstate commerce any “new drug” or

“biological product” unless and until the FDA has approved the drug or

biological product as safe and effective for its intended use. 21 U.S.C. §§ 331(a),

355(a); 42 U.S.C. § 262(a). Pursuant to Section 351(a) of the PHSA, 42 U.S.C.

§ 262(a), the FDA has the authority to approve the sale and manufacture of

vaccines and other biologics like the Comirnaty Vaccine. The biologics

application addresses not only the safety and efficacy of the product, but also




18The DOD may override service members’ informed consent rights, provided that it
complies with the requirements of 10 U.S.C. § 1107 (investigational new drugs) or §
1107a (EUA products), including a Presidential Waiver. The DOD has not requested
or obtained a Presidential Waiver.
                                        33
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 38 of 94 PageID 38




covers specific labeling and manufacturing requirements, including the

manufacturing location, process, and storage requirements.

      D.    Comirnaty Approval and BioNTech EUA Expansion

      58.   On August 23, 2021, the FDA approved the May 18, 2021,

Comirnaty application for individuals 16 years or older. The Comirnaty

Approval Letter approves the sale of Comirnaty Vaccine, as well as the specific

manufacturing facilities, processes, ingredients, storage, and distribution

requirements that were not addressed in the BioNTech Vaccine EUA. 19

      59.   Also on August 23, 2021, the FDA re-issued the EUA for the

BioNTech Vaccine for individuals 16 years or older and for children aged 12 to

15 years, and expanded the EUA to cover a third “booster” shot for certain

groups. The FDA extended and expanded the existing EUA because Comirnaty

is not available. See Ex. 5, BioNTech EUA Expansion Letter at 5 n.9.

      60.   On September 13, 2021, the National Institutes of Health (“NIH”)

posted an announcement by Pfizer that Pfizer “does not plan to produce any

product with these new [Comirnaty] NDCs and labels over the next few months

while the EUA authorized product is still available and being made available



19 Given the differences in manufacturing between EUA and licensed vaccines, the
FDA also required BioNTech to identify specific lots of EUA-labeled and
manufactured BioNTech Vaccines that BioNTech deemed BLA-compliant for FDA
review and release. See Ex. 4, August 23 Comirnaty SBRA at 27 (Section 10.a
“Identification of BLA Lots”).
                                      34
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 39 of 94 PageID 39




for U.S. distribution.” See Ex. 22, NIH-Pfizer Announcement of Comirnaty

Unavailability. On November 8, 2021, the FDA confirmed that Comirnaty

remains unavailable in the United States. See Ex. 24, November 8 Comirnaty

SBRA, at 5.

      E.      Differences Between EUA and Licensed Vaccines

      61.     The FDA has incorrectly asserted that the EUA BioNTech Vaccine

and the conditionally approved Comirnaty Vaccine have the “same

formulation” and can be used “interchangeably.” Ex. 5, BioNTech EUA

Expansion Letter at 2 n.8. However, there is no basis in the public record for

the FDA’s position that the two products are the “same.” Nor is there any basis

in the public record that the two admittedly “legally distinct” products are

“interchangeable.”20

      62.     In any case, there is no evidence in the public record for finding

that the EUA and licensed products are the same, and ample evidence for

finding that they are not. The most detailed information on Comirnaty’s



20 The only reasonable interpretation of the FDA’s use of the term “interchangeable”
is that it was intended to constitute a legal determination that the two distinct
products were “interchangeable” as defined under the same provision of the PHSA,
see 42 U.S.C. §§ 262(i) & 262(k). The FDA subsequently admitted that, despite the
use of this specific term defined in the same provision of the PHSA pursuant to which
it approved Comirnaty, it instead meant to use this term in a “scientific” or “factual”
sense, rather than in the “legal” sense. See Ex. 20, Marks Declaration ¶¶ 9-11
(submitted in Doe v. Austin, Case No. 3:21-cv-1211, ECF No. 31-13 (N.D. Fla. Oct. 21,
2021)).
                                          35
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 40 of 94 PageID 40




composition, manufacturing process, manufacturing locations and other

matters approved by the FDA is included in the FDA Comirnaty SBRA, nearly

all of which is redacted, see Ex. 4, August 23 Comirnaty SBRA, at 6-8, while

most of this information was never made available in the Pfizer/BioNTech EUA

applications or authorizations. To the extent such information is available, it

reveals that there are differences in the composition of the EUA and licensed

products.21 There is also no dispute that the FDA EUA addressed

manufacturing processes or locations, which are solely addressed in the

Comirnaty licensure. See Ex. 4, August 23 Comirnaty SBRA, at 12-13.

      F.     Pfizer/BioNTech Safety & Efficacy Data Reviewed by FDA

      63.    The DOD expressly relied on the FDA’s approval of Comirnaty in

issuing the DOD Mandate. The safety and efficacy data provided by

Pfizer/BioNTech, and reviewed by FDA, suffers from serious procedural,

evidentiary, and methodological defects that are briefly described below. In

light of these obvious defects, the FDA opposes the full release of the studies




21 See Ex. 21, Doe v. Austin, Case No. 3:21-cv-1211, Order Denying TRO/PI Motion at
7 & n.5 (M.D. Fla. Nov. 12, 2021). Compare Ex. 4, August 23 Comirnaty SBRA at 9
(listing 11 components, including .450 ml per vial of a redacted excipient), with Ex. 5,
BioNTech EUA Expansion Letter, at 7 (listing 10 components, all of which also
appear on the Comirnaty SBRA) and Ex. 24, November 8 Comirnaty SBRA, at 7-8
(listing 11 components, but removing .450 ml per vial of redacted excipient and
replacing with unspecified amount of water as 11th component).
                                          36
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 41 of 94 PageID 41




and other safety and efficacy data on which it relied for Comirnaty approval,

which was reviewed in a little over three months, until 2076. 22

      64.    Neither the BioNTech Vaccine nor the Comirnaty Vaccine has

been tested in clinical trials for its safety and efficacy on individuals who have

recovered from COVID-19. Indeed, the trials conducted so far have specifically

excluded survivors of previous COVID-19 infections. See Ex. 19, McCullough

Decl., ¶ 47. The clinical trials also did not include any pregnant or lactating

women.23 The clinical trials also did not include participants from and/or

provide sufficient data for other “special populations” such as those with

autoimmune disorders or hematological conditions, children, and frail elderly

populations.

      65.    While the Phase 3 clinical trials included a large and statistically

significant number of participants, the full sample trial was truncated in

unprecedented fashion. The original trial participants were followed for only


22See Pub. Health & Med. Profs. For Transparency v. FDA, Second Joint Report at 7-
8, Case No. 4:21-cv-01058, ECF No. 20 (N.D. Tex. Nov. 15, 2021), available at:
https://www.sirillp.com/wp-content/uploads/2021/11/020-Second-Joint-Status-
Report-8989f1fed17e2d919391d8df1978006e.pdf (last visited Nov. 17, 2021)
(proposing to process 329,000 pages at a rate of 500 pages per month, i.e., 658 months
or 55 years).
23See Sandra Kweder, MD, et al., Global Regulators Envision Paradigm Shift Toward
Inclusion of Pregnant and Breastfeeding Women in Clinical Research for Medicines
and Vaccines, FDA News Releases (July 19, 2021), available at:
https://www.fda.gov/news-events/fda-voices/global-regulators-envision-paradigm-
shift-toward-inclusion-pregnant-and-breastfeeding-women-clinical (noting that no
pregnant or lactating women were included in any COVID-19 vaccine trials).
                                         37
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 42 of 94 PageID 42




two months (i.e., largely the same trials and participants as used to grant the

initial EUA for the BioNTech Vaccine) instead of the FDA’s recommended

period of at least one to two years set forth in the FDA’s June 2020 Industry

Guidance.24 Because clinical trials typically run for years, rather than a few

months, the FDA has acknowledged that “[i]nformation is not yet available

about potential long-term health outcomes.” 25

      66.   The FDA fails to acknowledge, however, that the results of the

trials beyond the first two months are of questionable validity due to

fundamental methodological error that infects all results and undermines any

conclusions that can be drawn from them. In its May 18, 2021 application, 26

which included interim six-month safety and efficacy data for Phase 3 clinical

trials, Pfizer-BioNTech explained that study participants were given the

option to be “unblinded” – to learn whether they had taken the experimental



24 See FDA, Development and Licensure of Vaccines to Prevent COVID-19: Guidance
for Industry (June 2020) (“June 2020 Industry Guidance”), available at:
https://www.fda.gov/media/139638/download (last visited Nov. 8, 2021).
25See FDA Approves First COVID-19 Vaccine (Aug. 23, 2021) (“FDA Comirnaty Press
Release”), available at https://www.fda.gov/news-events/press-announcements/fda-
approves-first-covid-19-vaccine (last visited Nov. 8, 2021). The FDA has conditioned
Comirnaty approval on the completion of at least nine additional clinical trials
running through 2025 (none of which specifically address previously infected
individuals with natural immunity). See Ex. 3, FDA Comirnaty Approval Letter.
26 See Stephen J. Thomas, MD, Six Month Safety and Efficacy of the BNT162b2
mRNA COVID-19 Vaccine, medRxiv Preprint (July 28, 2021), available at:
https://www.medrxiv.org/content/10.1101/2021.07.28.21261159v1.full.pdf (last
visited Nov. 8, 2021).
                                        38
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 43 of 94 PageID 43




BioNTech Vaccine or the placebo – and if they had taken the placebo, to take

the BioNTech Vaccine.       As a result, only approximately 7% of study

participants were blinded after six months. Id. at 5. This “unblinding”

converted a randomized, controlled clinical trial into an uncontrolled or

partially controlled trial that cannot be used as the basis for approval. See 21

C.F.R. § 314.126(e). Accordingly, the FDA’s statements that the Comirnaty

approval was based on “randomized, controlled, blinded ongoing clinical trial

of thousands of individuals,” see supra FDA Comirnaty Press Release, note 25,

is severely and intentionally misleading.

      67.   Further, Comirnaty and the other COVID-19 vaccines are “genetic

vaccines”, “or vaccines produced from gene therapy molecular platforms which

according to US FDA regulatory guidance are classified as gene delivery

therapies and should be under a 15-year regulatory cycle with annual visits

for safety evaluation by the research sponsors.” 27

V.    SCIENTIFIC EVIDENCE AND ADMINISTRATIVE ACTIONS
      FOR COVID-19 MRNA “VACCINES”

      A.    Novel Technology

      68.   The Pfizer-BioNTech and Moderna COVID-19 treatments employ

novel technology, namely, mRNA delivered by nanolipids. These products are


27Id., ¶ 17 (citing FDA, Center for Biologics Evaluation and Research, Long Term
Follow-up After Administration of Human Gene Therapy Products: Guidance for
Industry, FDA-2018-D-2173.2020 (Jan. 2020) (“FDA Gene Therapy Guidance”)).
                                       39
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 44 of 94 PageID 44




considered “genetic vaccines” or “or vaccines produced from gene therapy

molecular platforms.” Ex. 14, McCullough Decl., ¶ 17. As Dr. McCullough

explains, the mRNA “vaccines” “have a dangerous mechanism of action in that

they all cause the body to make an uncontrolled quantity of the pathogenic

wild-type spike protein from the SARS-CoV-2 …. This is unlike all other

vaccines where there is a set amount of antigen or live-attenuated virus.” Id.

(emphasis added).

      69.   Because of the novelty of gene therapies like mRNA, and the

unknown safety risks, the FDA Gene Therapy Guidance advises “sponsors to

observe subjects for delayed adverse events for as long as 15 years following

exposure to the investigational gene therapy product.” Id. (quoting FDA Gene

Therapy Guidance at 4). The FDA’s own guidelines make clear that the long-

term safety risks cannot be known with any degree of certainty until recipients

have been followed for 10 or more years, rather than six months.

      70.   These mRNA treatments were only tested on humans for a limited

period of time. For example, the Comirnaty Phase 2 and Phase 3 trials only

covered the full sample for approximately two months, and a much smaller

sample for up to six months. See supra Section IV.F, ¶ 65. Accordingly, the

long-term efficacy or long-term safety of these vaccines “is not proven.”




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Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 45 of 94 PageID 45




Klaassen v. Trustees of Ind. Univ., --- F.Supp.3d. ---, 2021 WL 3073926, at *12

(N.D. Ind. July 18, 2021) (“Klaassen”).

      B.     Evidence of Rapidly Decreasing Efficacy

      71.    The Pfizer Factsheet admits that Comirnaty’s “duration of

protection against COVID-19 is currently unknown.” 28              What is known,

however, is that recent studies indicate that the efficacy and protection of the

BioNTech Vaccine drops off significantly over time, particularly after the six-

month period on which the FDA relied in conditionally approving the

Comirnaty Vaccine.

      72.    For example, recent and well-publicized studies from Israel found

that the BioNTech Vaccine’s effectiveness decreased from over 90% to 39%

after six months for infections and 40.5% for symptomatic cases. 29 Plaintiffs

are not aware of any studies contradicting the Israeli studies. In fact, these




28 FDA, Vaccine Information Fact Sheet for Recipients and Caregivers about
Comirnaty       at      4      (Sept.    22,        2021),       available at:
https://www.fda.gov/media/144414/download (last visited Sept. 29, 2021).
29   See Israel Ministry of Health Presentation (July 23, 2021), available at:
https://www.gov.il/BlobFolder/reports/vaccine-efficacy-safety-follow-up-
committee/he/files_publications_corona_two-dose-vaccination-data.pdf (last visited
Nov. 8, 2021); Rory Jones & Dov Lieber, Pfizer COVID-19 Vaccine Is Less Effective
Against Delta Infections but Still Prevents Serious Illness, Israel Study Suggests,
WALL STREET J. (July 23, 2021), available at: https://www.wsj.com/articles/pfizer-
covid-19-vaccine-is-less-effective-against-delta-infections-but-still-prevents-serious-
illness-israel-study-shows-11627059395 (last visited Nov. 8, 2021).
                                          41
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 46 of 94 PageID 46




study results are the reason Israel is already requiring a third booster shot

(and is considering a fourth).30

      73.    At the September 17, 2021 FDA Advisory Committee meeting to

consider approval of booster shots, Sara Oliver MD, MSPH presented an

overview of studies demonstrating the rapidly declining efficacy of the Pfizer-

BioNTech vaccine, in the United States and abroad. 31 Several U.S. studies

found that the efficacy of COVID-19 vaccines dropped from over 90% to as 42%

(with a median of roughly 65%) over an up to six-month period, with the

steepest drops found in the studies with the longest study periods; the only

study limited to the Pfizer-BioNTech vaccine got the low score of 42%. 32 Dr.

Oliver also presented studies finding a steep decline in efficacy 15%-35% for

the pre-Delta vs. the Delta variant. Id., Slide 20. She also presented a number

of international studies showing even sharper decreases in efficacy in countries




30 See Rosella Tercatin & Maayan Jaffe-Hoffman, COVID-19 Boosters Expanded to
40 Years Old and Up, JERUSALEM TIMES (Aug. 20, 2021), available at:
https://www.jpost.com/health-science/covid-israel-registers-600-serious-patients-
3rd-vaccine-to-be-expanded-677144 (last visited Nov. 8, 2021).
31 See Ex. 15, Sara Oliver MD, MSPH, Updates to COVID-19 Epidemiology and
COVID-19 Vaccines, Presentation to September 17, 2021 VRBPAC Meeting (Sept. 17,
2021)        (“Oliver       FDA         Presentation”),        available    at:
https://www.fda.gov/media/152243/download (last visited Nov. 8, 2021).
32See id., Slide 15 (citing A. Puranik et al., Comparison of two highly effective mRNA
vaccines for COVID-19 during periods of Alpha and Delta variant prevalence,
medRxiv2021.08.06.21261707).
                                         42
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 47 of 94 PageID 47




such as Qatar where the Delta variant was prevalent at an earlier date. Id. at

21.33

        74.   Of greatest relevance to Plaintiffs’ claims is the November 4, 2021

study    published   in   Science,   which    examined     the   Veterans    Health

Administration (“VHA”) records 780,000 U.S. veterans 34 (who are older and

presumably less healthy than active duty service members). From February

2021 to October 2021, the vaccine effectiveness against infection (VE-I)

declined from 87.9% to 48.1% overall (and all the way down to 13.1% for

Janssen vaccine vs. 43.3% for the Pfizer-BioNTech vaccine).

        75.   In any case, “the spike protein produced by the vaccines is

obsolete” due to the emergence of other variants, in particular the Delta

variant, which now accounts for 99.6% of cases. 35 The vaccines were developed

in response to the original Alpha variant, which now accounts for less than


33 Despite this information, the CDC is inexplicably not tracking “breakthrough”
infections of vaccinated people. See, e.g., Rachel Roubein & David Lim, CDC Under
Fire for Decision to Limit Tracking of COVID-19 Cases in Vaccinated People, POLITICO
(July 30, 2021), available at: https://www.politico.com/news/2021/07/30/pressure-cdc-
breakthrough-cases-501821 (last visited Nov. 8, 2021). This would have provided
essential information regarding the long-term efficacy of Comirnaty and other
COVID-19 vaccines.
34 See Barbara Cohn, et al., SARS-CoV-2 Vaccine Protection and Deaths Among
Veterans During 2021, SCIENCE (pre-print) (Nov. 4, 2021) (“VHA Study”), available
at: https://www.science.org/doi/epdf/10.1126/science.abm0620 (last visited Nov. 8,
2021).
35 See Ex. 14, McCullough Decl., ¶ 18 (citing CDC, COVID Data Tracker: Variant
Proportions (“CDC Variant Report”), available at: https://covid.cdc.gov/covid-data-
tracker/#variant-proportions (last visited Oct. 23, 2021)).
                                         43
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 48 of 94 PageID 48




0.1% of cases. Id. The current COVID-19 vaccines do not encode RNA or DNA

from the Delta variant or other variants of concern. Id., ¶ 21.

      76.      Vaccination provides limited protection at best, and some studies

indicate that the vaccinated may be at greater risk than the vaccinated for new

variants like the Delta variant. Dr. McCullough discusses the results of a June

2021 study performed in the UK, which found that: “92,056 cases had the Delta

variant and 50/7235 fully vaccinated and 44/53,822 of the unvaccinated died.

This indicates that the fully vaccinated who contract the Delta variant have

an 8.6-fold increased risk for death, (95% CI 5.73-12.91), p < 0.0001, as

compared to those who chose to remain unvaccinated.” Ex. 14, McCullough

Decl., ¶ 24.

      77.      As a result of declining efficacy, the emergence of new variants,

and the obsolescence of the current EUA vaccines, the FDA and CDC have

recommended additional rounds of booster shots. The ongoing and unresolved

booster shot debate demonstrates that the science is not “settled” as to the

duration of protection provided by, or the proper dosage for, mRNA treatments.

Further, as soon as the CDC or FDA recommend additional booster shots, all

of the “fully vaccinated” will immediately be treated as unvaccinated, and

therefore a threat to public health, for the purposes of the DOD and other

federal vaccine mandates.


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Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 49 of 94 PageID 49




      C.    Vaccine Injuries and Side Effects

      78.   The VAERS data reveal unprecedented levels of death and other

adverse events since the FDA issued EUAs for the three COVID vaccines. The

total safety reports in VAERS for all vaccines per year up to 2019 was 16,320.

By comparison, the total VAERS safety reports for COVID-19 Vaccines “alone

through October 1, 2021, is 778,683.” Ex. 14, McCullough Decl., ¶ 27. Through

October 1, 2021, this included “16,310 COVID-19 vaccine deaths … and 75,605

hospitalizations,” id. and “98% of all vaccine-related AEs from December 2020”

through October 1, 2021. Id., ¶ 28. “Thus, the COVID-19 mass vaccinationis

associated with at least a 39-fold increase in annualized vaccine deaths

reported to VAERS.” Id., ¶ 27.

      79.   COVID-19 vaccines are “especially risky for those 12-29,” id., ¶ 30,

which are the prime ages for military service. “[M]yocarditis causes injury to

heart muscle cells and may result in permanent heart damage resulting in

heart failure, arrhythmias, and cardiac death,” and can result in “a lifetime

need for multiple medications, implantable cardio defibrillators, and heart

transplantation.” Id., ¶ 31. “Heart failure has a five-year 50% survival and

would markedly reduce the lifespan of a child or young adult who develops this

complication after vaccine-induced myocarditis.” Id.36 Due to these risks, in Dr.


36On June 29, 2021, the Defense Health Agency (DHA) published a report in the
Journal of the American Medical Association Cardiology (JAMA) on vaccine-linked
                                       45
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 50 of 94 PageID 50




McCullough’s expert medical opinion, “no individual under age 30 under any

set of circumstances should feel obliged to take this risk with the current

genetic vaccines particularly the Pfizer and Moderna products.” Id., ¶ 32.

      80.    The COVID-19 vaccines are “dangerous for those who have already

had COVID-19 and have recovered with inferred robust, complete, and durable

immunity.” Id., ¶ 47. As noted above, these patients were inexplicably and

inexcusably excluded from the FDA-approved clinical trials for the COVID-19

vaccines. Thus, “[t]here has been no study demonstrating clinical benefit with

COVID-19 vaccination in those who have well documented or even suspected

prior COVID-19 illness.” Id. There have, however, been numerous studies

demonstrating that the those with previous infections have suffered greater

risks of adverse reactions from the vaccines, as well as a greater rate and

severity of subsequent COVID-19 infections than those with previous

infections who remained unvaccinated. See id., ¶¶ 49-51 & studies cited

therein.

      D.     Fluid Definition of “Vaccine,” “Vaccination” & “Fully
             Vaccinated”

      81.    Based on the limited efficacy of the COVID-19 vaccines and their


myocarditis among U.S. military service members. “The study reports that previously
healthy service members have developed myocarditis, a severe and life-threatening
inflammation of the heart, within an average of just four days of receiving their first
shot of either the Pfizer-BioNTech or the Moderna vaccine.” Id., ¶ 38 (citations
omitted).
                                          46
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 51 of 94 PageID 51




inability to prevent re-transmission, see infra Section V.E.1, the CDC

abandoned any pretense that the COVID-19 vaccines can prevent disease or

its spread, and moved the goalposts to merely providing “protection.” In fact,

the COVID-19 “vaccines” may be more appropriately classified as therapeutics

than vaccines. This prompted the CDC changes to the definition of “vaccine”

on its website, just days after the Comirnaty approval, from a product that will

“produce immunity”37 (August 2021) to one that will “produce protection”

(September 2021).38

      82.    In contemporaneous internal emails produced in response to a

Freedom of Information Act (“FOIA”) request, CDC leadership acknowledged

that it changed the definition of “vaccine” and “vaccination” in response to

(correct) public criticism and questions that the COVID-19 vaccines did not

meet the CDC’s then current definitions of “vaccine” and “vaccinations” as

providing “immunity.” See id. at 2 (“The definition of vaccine we have posted is

problematic and people are using it to claim that the COVID-19 vaccine is not



37  CDC, Vaccines and Immunizations: Definition of Terms (Aug. 26, 2021), available
at:   http://web.archive.org/web/20210826113846/https://www.cdc.gov/vaccines/vac-
gen/imz-basics.htm (last visited Nov. 8, 2021) (defining “vaccine as “[a] product that
stimulates a person’s immune system to produce immunity to a specific disease,
protecting the person from that disease.”).
38  CDC, Vaccines and Immunizations: Definition of Terms, available at:
https://www.cdc.gov/vaccines/vac-gen/imz-basics.htm (last visited Sept. 18, 2021)
(defining “vaccine” as [a] preparation that is used to stimulate the body’s immune
response against diseases.”).
                                         47
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 52 of 94 PageID 52




a vaccine based on our own definition.”); id. at 3 (“these definitions are

outdated and being used by some to say COVID-19 vaccines are not vaccines

per CDC’s own definition.”).

       83.       The CDC’s definition of “fully vaccinated” on which the DOD relies

is similarly fluid and subject to unannounced changes. CDC Director Rochelle

Walensky has stated that the CDC will likely need to “update our definition of

fully vaccinated in the future,” based on its determinations regarding booster

eligibility.39

       E.        “Fully Vaccinated” Spread COVID-19 & Lack of Evidence
                 for Public Health Benefits from Vaccination

                 1.    COVID-19 “Vaccines” Do Not Prevent Infection &
                       Transmission.

       84.       According to the FDA, there is insufficient data to know whether

the COVID-19 Vaccines actually prevent asymptomatic infection or prevent

transmission of SARS-CoV-2, the virus that causes COVID-19. Recent data




39See PBS Newshour, Watch: CDC Says the Definition of “Fully Vaccinated” May
Change as More People Get Boosters (Oct. 22, 2021), available at:
https://www.pbs.org/newshour/health/watch-live-white-house-covid-task-force-holds-
briefing-as-more-booster-shots-get-approval (last visited Nov. 15, 2021).
                                          48
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 53 of 94 PageID 53




from the U.S.40 and abroad41 suggest that they do not prevent either. There is

simply no data available – nor could there be – that Comirnaty or other COVID

EUA treatments can produce long-term immunity or prevent transmission,

and accordingly, provide the public health (as opposed to individual health)

benefits on which the DOD Mandate and other mandates are based.

             2.    Equal or Greater Risk of Infection by “Fully
                   Vaccinated” Compared to Unvaccinated.

      85.    A study by the UK National Institute for Health Research,

published in The Lancet on October 28, 2021, of the rate of household spread

of the Delta variant “among household contacts exposed to fully vaccinated

index cases was similar to household contacts exposed to unvaccinated index

cases (25% [95% CI 15-35] for vaccinated vs. 23% [15-31] for unvaccinated.” 42



40 See Catherine M. Brown, DVM, et al., Outbreak of SARS-CoV-2 Infections,
Including COVID-19 Vaccine Breakthrough Infections, Associated with Large Public
Gatherings — Barnstable County, Massachusetts, CDC MORBIDITY AND MORTALITY
WEEKLY REPORT Aug. 2021;70(31): 1059-1062 (Aug. 6, 2021) available at:
https://www.cdc.gov/mmwr/volumes/70/wr/mm7031e2.htm?s_cid=mm7031e2_w#sug
gestedcitation (last visited Sept. 30, 2021).
41 See, e.g., Nathan Jeffay, Israeli, UK data offer mixed signals on vaccine’s potency
against Delta strain, THE TIMES OF ISRAEL (July 22, 2021), available at:
https://www.timesofisrael.com/israeli-uk-data-offer-mixed-signals-on-vaccines-
potency-against-delta-strain/ (last visited Sept. 2, 2021).
42 See Anika Singanayagam, et al., Community transmission and viral load kinetics
of the SARS-CoV-2 delta (B.1.617.2) variant in vaccinated and unvaccinated
individuals in the UK: a prospective, longitudinal, cohort study (Findings), THE
LANCET (Oct. 29, 2021), https://doi.org/10.1016/S1473-3099(21)00648-4, available at:
https://www.thelancet.com/journals/laninf/article/PIIS1473-3099(21)00648-
4/fulltext#seccestitle160 (last visited Nov. 8, 2021).
                                         49
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 54 of 94 PageID 54




Accordingly, “fully vaccinated individuals with breakthrough infections have

peak viral load similar to unvaccinated cases and can efficiently transmit

infection in household settings, including to fully vaccinated contacts.” Id.

      86.    A September 29, 2021 preliminary report from the University of

California, Davis, Genome Center found that “[t]here were no statistically

significant differences in mean [cycle threshold] Ct-values of vaccinated … vs.

unvaccinated … samples.”43        There were also “no statistically significant

differences were found in the mean Ct-values of asymptomatic … vs.

symptomatic … samples, overall or stratified by vaccine status.” Id.

      87.    A July 2021 CDC study of an outbreak in Massachusetts found

that the vast majority of cases were reported among the vaccinated. 44 The VHA

Study discussed above also found that, with respect to the Delta variant, viral

loads are similar for both vaccinated and unvaccinated. See supra VHA Study,



43 See Charlotte B. Acharya, et al., No Significant Differences in Viral Load Between
Vaccinated and Unvaccinated, Asymptomatic and Symptomatic Groups Infected with
SARS-CoV-2        Delta   Variant,    medRxiv      Pre-Print     (Sept.   29,   2021),
https://doi.org/10.1101/2021.09.28.21264262,                available              at:
https://www.medrxiv.org/content/10.1101/2021.09.28.21264262v2 (last visited Nov.
8, 2021).
44See Ex. 14, McCullough Decl., ¶ 25 & Figure 1 (citing CDC, Outbreak of SARS-CoV-
2 Infections, Including COVID-19 Vaccine Breakthrough Infections, Associated with
Large                    Public                      Gatherings                 —
Barnstable County, Massachusetts, July 2021, CDC Morbidity and Mortality Weekly
Report            (Aug.          6,          2021),            available        at:
https://www.cdc.gov/mmwr/volumes/70/wr/pdfs/mm7031e2-H.pdf (last visited Oct.
23, 2021)).
                                         50
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 55 of 94 PageID 55




note 34, at 3.

      88.    Accordingly, claims that this is a “pandemic of the unvaccinated,”

see Ex. 12, Biden Federal Mandate Statement at 2, are incorrect and deceptive.

As is the CDC’s policy, announced May 1, 2021, that community breakthrough

cases would no longer be reported to the public. See supra Roubein & Lim, note

33. “This overt asymmetric reporting will create the false picture of only

unvaccinated individuals developing COVID-19 when in reality patients who

are fully vaccinated will be contracting breakthrough infections.” Ex. 14,

McCullough Decl. ¶ 21.

             3.    Lack of Evidence That COVID-19 Spread by
                   Unvaccinated Individuals with Natural Immunity

      89.    Of equal importance is the admission of the CDC—on whose

recommendation the DOD and Armed Services expressly relied on in

eliminating the natural immunity exemption—that they do not have any:

      Documents reflecting any documented case of an individual who:
      (1) never received a COVID-19 vaccine; (2) was infected with
      COVID-19 once, recovered, and then later became infected again;
      and (3) transmitted SARS-CoV-2 to another person when
      reinfected.

Ex. 16, November 5 FOIA Response, at 1 (emphasis added). Of even greater

importance is the CDC’s admission that “this information is not collected.” Id.45


45 Plaintiffs do not contend that previously infected individuals with naturally
immunity who have recovered can never be reinfected and then reinfect others;
instead, Plaintiffs merely highlight that the CDC itself has intentionally refused to
                                         51
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 56 of 94 PageID 56




             4.    Quarantine & Testing Provide Equal or Greater
                   “Protection.”

      90.    In Dr. McCullough’s expert medical opinion, “the epidemic spread

of COVID-19, like all other respiratory viruses, notably influenza, is driven by

symptomatic persons; asymptomatic spread is trivial and inconsequential.” Ex.

14, McCullough Decl., ¶ 10. A meta-analysis published in the American

Journal of the American Medical Association concluded that “asymptomatic

spread was negligible at 0.7%.”46 Consequently, “a rational and ethical

prevention measure to reduce the spread of COVID-19 is a simple

requirement” would be for persons with “active symptomatic, febrile (feverish)

respiratory illnesses … to isolate themselves.” Id., ¶ 11. Thus quarantine and

testing, the previous COVID-19 mitigation strategy, can provide equal or

greater protection, at much lower costs to society, the DOD, and the individuals

involved, than mass vaccination.




collect, or even consider, contrary evidence. Such intentional blindness cannot be the
basis for deference by this Court to the CDC, nor can it form the foundation for
deference to DOD where that decision is based on outsourcing decision-making to an
agency that ignored evidence that might contradict its preferred policy outcome.
46 Id., ¶ 11 (citing Zachary J. Madewell, Ph.D., et al., Household Transmission of
SARS-CoV-2: A Systematic Review and Meta-analysis, JAMA Network Open,
https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2774102 (last visited
Oct. 23, 2021)).
                                         52
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 57 of 94 PageID 57




      F.    Natural Immunity          Provides     Superior     Protection     to
            Vaccination.

      91.   Numerous studies (described below) demonstrate the superiority

of natural immunity over vaccine-induced immunity (or “protection” in CDC’s

new terminology). In Dr. McCullough’s expert opinion, “SARS-CoV-2 causes an

infection in humans that results in robust, complete, and durable immunity,

and is superior to vaccine immunity.” Id., ¶ 53. “There are no studies

demonstrating the clinical benefit of COVID-19 vaccination in COVID-19

survivors and there are three studies demonstrating harm in such individuals.

Thus, it is my opinion that the COVID-19 vaccination is contraindicated in

COVID-19 survivors.” Id.

      92.   A study conducted in Israel, described as the “largest real-world

observational study comparing natural immunity,” concluded that: “natural

immunity confers longer lasting and stronger protection against infection,

symptomatic disease and hospitalization caused by the Delta variant of SARS-

CoV-2” compared to Pfizer-BioNTech vaccine immunity. 47 After adjusting for

co-morbidities and age, fully vaccinated individuals with no previous infections

had a “statistically significant 13.06-fold (95% CI, 8.08 to 21.11) increased risk



47  Sivan Gavit, MD MA, et al., Comparing SARS-CoV-2 Natural Immunity to
Vaccine-Induced Immunity: Reinfections versus Breakthrough Infections at 15,
medRxiv Preprint (Aug. 25, 2021) (“Israeli Study”), available at:
https://www.medrxiv.org/content/10.1101/2021.08.24.21262415v1.full.pdf.
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Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 58 of 94 PageID 58




for breakthrough infection [with the Delta variant] as opposed to reinfection

(P<0.001)” of those previously infected. Id. at 12. With respect to symptomatic

disease, the fully vaccinated had a “27.02-fold risk (95% CI, 12.7 to 57.5)

symptomatic breakthrough infection as opposed to reinfection (P<0.001).” Id.

at 12-13.

      93.   The Cleveland Clinic Study48 included 1,359 previously infected

individuals who did not take any COVID-19 vaccine, and found that “[n]ot one

of the 1,359 previously infected subjects who remained unvaccinated had a

SARS-CoV-2 infection over the duration of the study.” Id. at 2. The Cleveland

Clinic Study found that “vaccination was associated with a significantly lower

risk of SARS-CoV-2 infection among those not previously infected,” but that

vaccination did not lower the risk of re-infection “among those previously

infected.” Id. The Cleveland Clinic Study concluded that previously infected

individuals are therefore “unlikely to benefit from COVID-19 vaccination.” Id.

      94.   The more robust response of natural immunity to mutated forms

of COVID is supported by the results of a longitudinal analysis of 254 patients




48See Nabin K. Shrestha, MD, MPH, et al., Necessity of COVID-19 Vaccination in
Previously Infected Individuals, medRxiv preprint (June 19, 2021) (“Cleveland Clinic
Study”),                               available                                 at:
https://www.medrxiv.org/content/10.1101/2021.06.01.21258176v3.full.pdf.         The
Cleveland Clinic Study examined 52,238 employees of the Cleveland Clinic Health
System for a five-month period beginning in December 2020.
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Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 59 of 94 PageID 59




over eight months.49 This study found that SARsS-CoV-2 infection produces

“broad and effective immunity” that “may persist long-term in recovered

COVID-19 patients.”

      95.   Dr. McCullough discusses a study of 615,777 previously infected

individuals, which found a re-infection rate of less than one percent (<1%) over

the long term (including periods where the Delta variant is dominant). 50

      G.    Alternative and Effective Treatments for COVID-19

      96.   There are now well-studied, safe and reliable alternatives to

vaccination for prevention and treatment of COVID-19, including, but not

limited to Ivermectin, Methylprednisolone, Fluvoxamine, Hydroxychloroquine,

Vitamin C, Vitamin D3, Zinc, Melatonin, Aspirin, corticosteroids, monoclonal

antibodies, and other accessible therapies. Merck recently announced a new

COVID-19 treatment, an oral antiviral pill that dramatically reduces risks of

hospitalization and death.51


49Kristen W. Cohen, et al., Longitudinal Analysis Shows Durable and Broad Immune
Memory after SARS-CoV-2 Infection with Persisting Antibody Responses and Memory
B and T Cells, CELL REPORTS MEDICINE 2, 100354 (July 20, 2021), available at:
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8253687/ (last visited Nov. 8, 2021).
50 See Ex. 14, McCullough Decl., ¶ 56 (discussing Eamon O Murchu, et al.,
Quantifying risk of SARS-CoV-2 reinfection over time, Reviews in Medical Virology
(May 27, 2021), available at: https://onlinelibrary.wiley.com/doi/10.1002/rmv.2260
(last visited Oct. 23, 2021)).
51See, e.g., Robert F. Service, “Unquestionably a Game Changer!” Antiviral Pill Cuts
COVID-19 Hospitalization Risk, SCIENCE (Oct. 1, 2021), available at:
https://www.science.org/content/article/unquestionably-game-changer-antiviral-pill-
cuts-covid-19-hospitalization-risk (last visited Oct. 4, 2021).
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Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 60 of 94 PageID 60




      97.   For example, Ivermectin was rejected by the FDA, despite having

significantly more peer reviewed studies, forty-four (44) peer reviewed studies,

and thirty-two (32) double-blind clinical trials showing substantially higher

efficacy than treatments such as Remdesivir. See generally Ex. 18, FDA

COVID-19 Drug Approval Process Remdesivir vs Ivermectin. Ivermectin is used

over the counter for COVID in many countries and regions with excellent

reported treatment success, such as India. The drug’s safety has been

established with nearly four billion human doses used, and the drug is on the

World Health Organization’s list of essential drugs.

      98.   Dr. McCullough has studied—and developed through his work

with the Association of American Physicians and Surgeons—a number of

alternative treatments. The treatment approach outlined in his declaration

“has resulted in an ~85% reduction in hospitalization and death in high-risk

individuals” with COVID-19, and results in “less than 2% change of facing

hospitalization or death among high-risk adults (age over 50 with medical

problems). Ex. 14, McCullough Decl., ¶¶ 12-13 & Table 3. These hospitalization

and death rates would necessarily be lower for younger, healthier service

members.

      99.   Further, in light of the CDC’s changing definition of vaccines and

vaccination to provide only “protection,” rather than “immunity” (i.e., because


                                      56
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 61 of 94 PageID 61




COVID-19 vaccines do not provide immunity), the numerous alternative

treatments that do provide protection (as well as natural immunity) should be

considered as alternative methods to meet the CDC’s public health goals, and

the DOD’s exclusion of these alternatives is irrational and unsupported.

VI.   PLAINTIFFS RELIGIOUS ACCOMMODATION REQUESTS

      A.    Plaintiffs’ Sincerely Held Religious Beliefs

      100. In their declarations and the religious accommodation requests

attached thereto (“RA Requests”), Plaintiffs have set forth the sincerely held

religious beliefs that compel them to oppose the mandate. The primary reason

cited is the refusal to participate in the abomination of abortion. See, e.g., Ex.

1, Bodony Decl., RA Request, ¶¶ 3-4 (“My sincerely held religious belief is that

human life is recognized at the moment of conception and all child sacrifice is

condemned by God. …. By participating in an immunization that results from

abortion, I would be committing a cardinal sin that can lead to spiritual

death.”); Dee Decl., RA Request, ¶ 5 (“any support for or acceptance of a

product that is produced using aborted human fetal tissue goes against my

sincerely held belief that voluntary termination of a pregnancy is murder and

a violation of God’s commandments.”); Duffy Decl., RA Request, ¶ 1

(“cultivation and testing of aborted fetuses in making the mRNA goes against

my Christian ethics.”); Hyatt Decl., at ¶ 8 (“The use of cells, cellular debris,

protein and DNA from willfully aborted human children cell lines used to
                                       57
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 62 of 94 PageID 62




develop the Covid-19 vaccine violate the very basic foundations of Exodus

20:13, which instructs us not to murder.”); Kayegama Decl., RA Request, ¶ 2

(“My request is based on my sincere belief as a non-denomination Christian

that believes God is our Creator and using aborted fetal cells and lining in the

vaccine itself or in testing is not acceptable as a Christian.”); Nankivell Decl.,

RA Request, ¶ 4(a) (“I believe abortion is immoral and that these current

vaccine options are not morally justifiable. I cannot use any product I have

knowledge of that takes its origin in abortion while maintaining a clear

conscience”); Severson Decl., RA Request, ¶ 2 (“allowing morally objectionable

and/or unsafe substances, including vaccines which utilize cell lines from

murdered babies in the development, production, and/or testing processes, is

counter to my spiritual convictions. The murder of an unborn child is never

justified.”).

       101. Certain Plaintiffs also object to the use of gene therapies like the

COVID-19 treatments that alter God’s creation, i.e., their genetic codes or

immune system, in violation of God’s commandments. See, e.g., Dee Decl., RA

Request, ¶ 1 (“God created me perfectly and in His image.” Taking the vaccine

“would cause me to support the murder of unborn children, which is a violation

of His commandments.”); Jacobellis Decl., RA Request, ¶ 3 (“My body is a

temple of the Holy Spirit and, as such, my cells should not be manipulated by


                                       58
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 63 of 94 PageID 63




medical intervention. Covid vaccines deliver a genetic code to host cells in the

body, giving those cells instructions, or blueprints for making copies of spike

proteins. I believe that the process by which these vaccines send instructions

to my cells is undoing God’s created order (1 Corinthians 6:19-20).”).

      102. Plaintiffs also believe that the mandate is forcing them to choose

between God and country and/or following an unlawful order. See, e.g., id.,

Bodony Decl., RA Request, ¶ 7; Duffy Decl., RA Request, ¶ 2 (taking a vaccine

developed from a fetal cell line taken from aborted fetuses “would force me to

conform and sacrifice my religious freedom and, in return, be subject to the

wrath of the Lord (Deuteronomy 7:4)”); Jacobellis Decl., RA Request, ¶ 4 (“By

taking the vaccine, he is being ordered to participate in a practice that comes

in conflict with God’s authority over his life. This violates God’s created order

(Deuteronomy 11:1)”).

      B.   COVID-19 Vaccines Are Critically Dependent on, and Could
      Not Exist but for, the Use of Aborted Fetal Cell Tissue.

      103. It is undisputed that HEK-293 and PER.C6 fetal cell lines were

used in the development and testing of the three (3) available COVID-19

vaccines. As reported by the North Dakota Department of Health, in its

handout literature for those considering one of the COVID-19 vaccines, “[t]he

non-replicating viral vector vaccine produced by Johnson & Johnson did

require the use of fetal cell cultures, specifically PER.C6, in order to produce

                                       59
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 64 of 94 PageID 64




and manufacture the vaccine.”52 The Louisiana Department of Health likewise

confirms that the Johnson & Johnson COVID-19 vaccine used the PER.C6 fetal

cell line, which “is a retinal cell line that was isolated from a terminated fetus

in 1985.”53

      104. The same is true of the Moderna and Pfizer-BioNTech mRNA

vaccines. The Louisiana Department of Health’s publications again confirm

that aborted fetal cells lines were used in the “proof of concept” phase of the

development of their mRNA vaccines. See id. The North Dakota Department

of Health likewise confirms: “Early in the development of mRNA vaccine

technology, fetal cells were used for ‘proof of concept’ (to demonstrate how a

cell could take up mRNA and produce the SARS- CoV-2 spike protein) or to

characterize the SARS-CoV-2 spike protein.” See NDH FAQ. Multiple Pfizer

executives have confirmed both that aborted fetal cells were critical for

development, while at the same trying to cover this up this essential fact. 54


52 See North Dakota Health, COVID-19 Vaccines & Fetal Cell Lines (Oct. 5, 2021)
(“NDH                    FAQ”),                    available                at:
https://www.health.nd.gov/sites/www/files/documents/COVID%20Vaccine%20Page/
COVID-19_Vaccine_Fetal_Cell_Handout.pdf (last visited Nov. 15, 2021).
53La. Dept. of Public Health, You Have Questions, We Have Answers: COVID-19
Vaccine FAQ (Dec. 21, 2020), available at: https://ldh.la.gov/assets/oph/Center-
PHCH/Center-PH/immunizations/You_Have_Qs_COVID-19_Vaccine_FAQ.pdf (last
visited Nov. 15, 2021).
54 See Project Veritas, PFIZER LEAKS: Whistleblower Goes On Record, Reveals
Internal Emails from Chief Scientific Officer & Senior Director of Worldwide Research
Discussing COVID Vaccine ... ‘We Want to Avoid Having the Information on the Fetal
Cells     Floating    Out     There’,      (Oct.    6,     2021),     available    at:
                                         60
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 65 of 94 PageID 65




      C.     Plaintiffs Religious Accommodation Requests Have Been
             Denied.

      105. The following Plaintiffs have had their religious accommodation

requests denied or recommended for disapproval: Jessica Caldwell (Caldwell

Decl., ¶ 9); Paul Dee (Dee Decl., ¶ 10); Brian Duffy (Duffy Decl., ¶ 7); Allen Hall

(Hall Decl., ¶ 7); Michael Jacobellis (Jacobellis Decl., ¶ 9); Emily Nankivell

(Nankivell Decl., ¶ 9); and Jeremy Severson (Severson Decl., ¶ 10).

      D.     Defendants Have Systematically                 Denied      Religious
             Accommodation Requests.

      106. Defendants have systematically denied religious accommodation

requests. As demonstrated in the table below, Defendants have granted zero

religious accommodation requests, while denying thousands:55

Table 1: Statistics on Religious Accommodation Requests as of
November 12

 Branch          Total          Pending      Denied               Granted
 Air Force               11,007       10,319                  688      0
 Army                       114          114                    0      0



www.projectveritas.com/news/pfizer-leaks-whistleblower-goes-on-record-reveals-
internal-emails-from-chief/ (last visited Nov. 8, 2021).
55 See Ex. 19, Defendants Compliance Notice in Navy Seal 1 v. Biden, ECF No. 34,
Case No. 8:21-cv-2429 (M.D. Fla.). “Denied” requests includes both “Denied Requests
Pending Appeal” and “Initial Requests Denied and Are Not Currently Subject to
Appeal.” “Pending” includes “Initial Requests Under Review” for Navy and Marine
Corps. The filing by the Army (including Army Reserves and presumably Army
National Guard), the largest branch by far with over one million soldiers and nearly
50% of total armed services personnel, indicate that only 114 requests have been
received by the Surgeon General for the Army (“TSG”); this is presumably a small
fraction of the total submitted by Army soldiers.
                                        61
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 66 of 94 PageID 66




Coast                       818              818              0       0
Guard
Marines                   2,266             1,202          1,053      0
Navy                      2,375             1,897            478      0

      107. These statistics demonstrate that (1) submission of religious

accommodation requests are futile and (2) that the DOD and Armed Services

are systematically denying these requests, in violation of their statutory

obligations and the constitutional rights of Plaintiffs.

VII. PLAINTIFFS    WILL   SUFFER                       CONCRETE   AND
      PARTICULARIZED HARM AS A                       DIRECT RESULT OF
      DEFENDANTS’ ACTIONS

      108. Plaintiffs have real, substantial, and legitimate concerns about

taking experimental COVID-19 treatments in light of and the potential for

short- and long-term side effects and adverse reactions. Moreover, several

Plaintiffs have been denied medical exemptions to which they are entitled

under currently effective regulations for natural immunity and other

conditions, while several other Plaintiffs have also been denied religious

accommodation requests under new illegal and unconstitutional criteria. See

Section VI.C (“Plaintiffs Religious Accommodation Requests Have Been

Denied.”).

      109. All Plaintiffs will face adverse employment or disciplinary actions,

up to and including termination, separation, dishonorable discharge, court

martial, loss of post-separation benefits, and permanent damage to their

                                       62
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 67 of 94 PageID 67




reputation and employment prospects resulting from a court martial and/or

dishonorable discharge. See supra Section III.B.5 (“Disciplinary Actions for

Vaccine Refusal”) & Section III.C (“UCMJ Sanctions for Vaccine Refusal”).

Several already face promotion or duty restrictions as a result of vaccine

refusal.

      110. Further, Plaintiffs have objected to the mandate based on the

unavailability of Comirnaty, but have faced disciplinary action or involuntary

separation for their refusal to take an unlicensed experimental treatment. See,

e.g., Ex. 1, Dee Decl., ¶ 8; Hallmark Decl., ¶ 12; Jacobellis Decl., ¶ 10; Nankivell

Decl., RA Appeal ¶¶ 10-12; Severson, Decl., ¶ 8. “[T]he United States cannot

demand that members of the armed forces also serve as guinea pigs for

experimental drugs.”       John Doe #1 v. Rumsfeld, 297 F.Supp.2d 119, 135

(D.D.C. 2003). The injury is exacerbated by the fact that the government not

only seeks to deprive them of their informed consent rights both through

deception and coercion, but also to take their freedom and livelihoods for

having the temerity to exercise the rights granted to them by statute and the

U.S. Constitution.

                      FIRST CAUSE OF ACTION
           VIOLATION OF INFORMED CONSENT RIGHTS
               10 U.S.C. § 1107a AND 21 U.S.C. 360bbb-3

      111. Plaintiffs reallege the facts in Paragraphs 1 through 110 as if fully

set forth in this Count.
                                        63
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 68 of 94 PageID 68




         112. The DOD Mandate and the Armed Services Guidance violate

federal laws and implementing rules and regulations governing EUA products

and informed consent rights, see 10 U.S.C. § 1107a and 21 U.S.C. § 360bbb-3,

to the extent that the DOD or the Armed Services have mandated the

unlicensed EUA BioNTech Vaccine, or directed DOD healthcare providers to

administer the EUA vaccine pursuant to the DOD Mandate. The DOD

Mandate must therefore be declared unlawful and enjoined. See generally John

Doe #1 v Rumsfeld, 341 F. Supp. 2d 1, 19 (D.D.C. 2004), modified sub nom.

2005 WL 774857 (D.D.C. 2005) (expanding injunction against mandated EUA

anthrax vaccine).

         113. While the DOD Mandate itself states that only FDA-licensed

vaccines may be mandated, see Ex. 2, DOD Mandate at 1, the Air Force

Guidance and DOD Surgeons General Guidance expressly state that the EUA

BioNTech Vaccine should be administered “interchangeably” with, and/or “as

if” it were, the unavailable licensed Comirnaty Vaccine pursuant to the DOD

Mandate. See, e.g., Ex. 7, Air Force Guidance, § 3.1.1; Ex. 11, DOD Surgeon

Generals Guidance, at 1. This raises the question of whether it is the Air Force

and DOD Surgeons General, rather than Plaintiffs, who are disobeying a direct

order.




                                      64
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 69 of 94 PageID 69




      114. The EUA and the licensed product are “legally distinct” in that the

EUA BioNTech Vaccine is subject to the laws governing EUA products,

including the right to informed consent, while Comirnaty is subject to the

heightened safety and efficacy requirements governing FDA-licensed products,

as well as FDA regulation of manufacturing facilities and process. The two

products are also chemically distinct because the EUA and licensed products

do not have “same formulation.” Compare Ex. 4, August 23 Comirnaty SBRA

at 9 (11 components, including redacted excipient), with Ex. 5, BioNTech EUA

Expansion Letter, at 7 (listing 10 components) and Ex. 24, November 8

Comirnaty SBRA at 7-8 (listing 11 components, but removing redacted

excipient).

      115. Further, the licensed Comirnaty is unavailable in the United

States and will not be available for several months. See Ex. 24, November 8

Comirnaty     SBRA    at   5;   Ex.   22,   NIH-Pfizer   Announce    Comirnaty

Unavailability. Defendants’ compliance deadlines will necessarily require

Plaintiffs to receive an unlicensed product, in violation of federal informed

consent laws. Further, Plaintiffs have objected to the mandate based on the

unavailability of Comirnaty, but have been rejected and even disciplined for

their refusal to take an unlicensed experimental treatment. See, e.g., Ex. 1, Dee




                                       65
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 70 of 94 PageID 70




Decl., ¶ 8; Hallmark Decl., ¶ 12; Hyatt Decl., ¶ 8; Jacobellis Decl., ¶ 10;

Nankivell Decl., RA Appeal ¶¶ 10-12; Severson, Decl., ¶ 8.

      116. Defendants’ position is based on willful misrepresentations of the

law—that the product (or even the same vial) may simultaneously be labeled

as EUA but still be a licensed product vaccine for the same indication, and that

an EUA-labeled vial may be mandated “as if” it were the licensed product—for

the purpose of deceiving and coercing service members to forfeit their statutory

rights to informed consent and to refuse an unlicensed vaccine.

      117. As a result of Defendants’ unlawful actions, Plaintiffs will be

required either to take an unwanted, unnecessary, and unproven vaccine,

based on an invalid FDA approval and an unlawful order, or else face the

serious disciplinary consequences outlined above that will result in the loss of

their livelihoods, careers, benefits, and fundamental rights.

                SECOND CAUSE OF ACTION
    VIOLATIONS OF APA & PROCEDURAL REQUIREMENTS

      118. Plaintiffs reallege the facts in Paragraphs 1 through 110 as if fully

set forth in this Count.

      119. The DOD Mandate is a two-page memorandum from the Secretary

of Defense that cites no statute, regulation, executive order or other legal basis

for the imposition of an entirely new mandate on over two million active duty

and reserve service members. The Armed Services guidance is just that,

                                       66
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 71 of 94 PageID 71




guidance documents, that solely on the SECDEF Memo, without citing any

further legal basis for their implementation of the SECDEF Memo.

      120. The DOD Mandate exceeds the statutory authority of the

Secretary of Defense. The DOD and the Armed Services are departments and

agencies of the United States Government. As such, they are agencies created

by statute, and “it is axiomatic that an administrative agency’s power to

promulgate legislative regulations,” like the DOD Mandate, “is limited to the

authority delegated by Congress.” Bowen v. Georgetown Univ. Hosp., 488 U.S.

204, 208, 109 S. Ct. 468, L.Ed.2d 493 (1988); see also La. Pub. Serv. Comm’n v.

FERC, 476 U.S. 355, 375, 106 S. Ct. 1890, 90 L.Ed.2d 369 (1986) (“an agency

literally has no power to act, …, unless and until Congress confers power on

it.”). Accordingly, the DOD Mandate and Armed Services’ guidance are “in

excess of statutory jurisdiction [and] authority.” 5 U.S.C. § 706(2)(C).

      121. The DOD Mandate and the Armed Services Guidance violates the

APA and the existing DOD and Armed Services regulations and directives

governing immunization, in particular multi-service regulation (“MSR”) AR

40-562, DOD Instruction 6500.02, “DOD Immunization Program” (July 23,

2019) (“DODI 6500.02”), and the DOD rules for amending or modifying MSRs.

      122. AR 40-562 is the currently effective MSR setting forth

immunization requirements and exemptions for service members and DOD


                                       67
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 72 of 94 PageID 72




civilians. AR 40-562 is a “legislative rule” insofar as it sets forth service

members’ rights and obligations regarding immunization and exemptions, and

thus has the force of law. MSRs like AR 40-562 must be promulgated and

approved by order of each of the Armed Services (i.e., Secretaries of the Army,

Navy, Air Force and Coast Guard). See Ex. 6, AR 40-562, at i.

      123. The DOD Mandate modifies AR 40-562 insofar as it: (1) imposes

an entirely new vaccine requirement not found in AR 40-562 or any other

statute, MSR, DOD instruction or directive regulation; and (2) eliminates

medical exemptions to which service members would otherwise be entitled,

including those with previous documented infections. There are nearly 250,000

service members with previous COVID-19 infections that are affected by the

elimination of this exemption alone, and several Plaintiffs were either denied

medical exemption for previous infections or did not request one because they

were informed that this exemption had been eliminated. See, e.g., Ex. 1,

Hallmark Decl., ¶ 11; Severson Decl., ¶ 10; Schwartz Decl., ¶ 10; see also

Caldwell Decl., ¶ 10 (no exemption for cancer).

      124. The amendment, modification or repeal of currently effective

regulations like AR 40-562 must be performed in accordance with the DOD’s

procedural requirements for MSRs, including separate review and approval by

the Secretaries of each of the Armed Services. The SECDEF and DOD are not


                                      68
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 73 of 94 PageID 73




permitted to unilaterally change an existing MSR—by adding an entirely new

vaccination requirement and categorically eliminating existing classes of

exemptions—and DOD has cited no authority that would allow them to do so.

Further, if the DOD intends to change the currently effective governing

regulation, it must actually change the regulation; it may not just ignore it,

read it out of the regulation, or amend it sub silentio as it appears to do have

done with respect to its elimination of existing exemptions for COVID-19 only.

Finally, the Armed Services’ guidance is just that, guidance; guidance

documents, or interpretive rules, cannot modify legislative rules like AR 40-

562.

       125. Where, as here, an agency amends a legislative rule, effecting a

substantive change in the regulation, and therefore to service members’ legal

rights and obligations thereunder, the agency must follow the required

procedures—and actually revise the regulations in question—so that regulated

persons may ascertain the rules to which they are subject. By failing to follow

the required procedures for amending MSRs, the DOD Mandate, and

amendments to AR 40-562, were made “without observance of procedure

required by law.” 5 U.S.C. § 706(2)(D).

       126. The DOD Mandate and the Armed Services’ guidance also must be

set aside as “arbitrary, capricious, an abuse of discretion, or otherwise not in


                                      69
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 74 of 94 PageID 74




accordance with law,” 5 U.S.C. § 706(A), insofar as they impose a sweeping

vaccine mandate without any explanation or justification for their action or the

underlying legal basis or authority; any findings of facts or analysis (cost-

benefit or otherwise) supporting their determination; and are based on patent

misrepresentations of the law (in particular, that an EUA-labeled product may

be administered “as if” it were the licensed product, which is not available).

The DOD Mandate’s sole justification or explanation is a conclusory statement

that the Secretary has “determined that mandatory vaccination against

[COVID-19] is necessary to protect the Force and defend the American people.”

Ex. 2, DOD Mandate at 1. Given that the DOD Mandate was issued on the very

next day after FDA Comirnaty Approval, it is apparent the DOD blindly relied

on the FDA approval; there is no indication that the DOD and SECDEF

engaged in reasoned decision-making that the APA requires or that the

mandate is based on the DOD’s independent judgment or expertise.

      127. The Defendants’ elimination of the exemption for natural

immunity    is   also   arbitrary   and capricious.   “[A]   naturally   immune

unvaccinated [service member] is presumably at less risk than an

unvaccinated” service member, but the DOD’s elimination of this exemption

“fails almost completely to address, or even respond to, much of this reality and

common sense.” OSHA, 2021 WL 5279381, at *6.


                                        70
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 75 of 94 PageID 75




      128. The DOD’s decision to eliminate the exemption for natural

immunity appears to be based on CDC guidance. Deference to Defendants’

expertise is especially inappropriate where, as here, they have outsourced

decision-making to the CDC, which has admitted that it has no evidence of any

instance where an individual with a previous infection has recovered, then

become reinfected and transmitted the infection to another individual. See Ex.

16, November 5 FOIA Response. The CDC not only has no contrary evidence;

it has intentionally chosen not to collect evidence that might contradict its

preferred   policy   outcome.   The   CDC   also   redefined   “vaccine”   and

“vaccination”—in response to (correct) public criticism that the mRNA vaccines

did not qualify under the current definition—after the Comirnaty licensure

and issuance of the DOD Mandate, to accommodate this ineffective, unsafe,

and experimental treatment that does not provide immunity, or prevent

infection or transmission. See supra Section V.E (““Fully Vaccinated” Spread

COVID-19 & Lack of Evidence for Public Health Benefits from Vaccination”).

No deference is due to such an intentionally one-sided and asymmetrical

process.

      129. Defendants have also violated the APA and applicable regulations

insofar as the DOD Mandate and Armed Services implementation thereof

permits the vaccination requirements to be met only by the EUA COVID-19


                                      71
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 76 of 94 PageID 76




“vaccines” and Comirnaty “vaccine.” The CDC definition and guidance that

DOD purports to follow permit consideration of a much wider range of

available treatments that provide “protection” against COVID-19. See Section

V.D (“Fluid Definition ’”) and Section V.G (“Alternative and Effective

Treatments for COVID-19”). There is no indication in the record that the DOD

considered any other treatments that provide such protection.

      130. Finally, the DOD Mandate is arbitrary and capricious because it

constitutes an unannounced and unexplained departure from a prior policy

insofar as it mandates EUA vaccines. In a July 6, 2021 memorandum from the

Office Legal Counsel, the DOD interpreted the informed consent requirements

in 10 U.S.C. § 1107a “to mean that DOD may not require service members to

take an EUA [vaccine]” without first obtaining a Presidential Waiver under 10

U.S.C. § 1107a.” See Ex. 23, Office of Legal Counsel, Vaccine Mandate Opinion

at 16 (July 6, 2021). There has been no Presidential Waiver, yet the Defendants

are mandating use of EUA vaccines. “[A]gencies must typically provide a

‘detailed explanation’ for contradicting a prior policy;” they may not, as DOD

has done here, “depart from a prior policy sub silentio.” OSHA, 2021 WL

5279381, at *5 (quoting FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515,

129 S. Ct. 1800, 173 L.Ed.2d 738 (2009) (“Fox”)).

      131. As a result of Defendants’ unlawful actions, Plaintiffs will be


                                      72
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 77 of 94 PageID 77




required either to take an experimental, unlicensed vaccine—pursuant to an

unlawful mandate from which many or most would otherwise be exempt—or

else face the serious disciplinary consequences outlined above that will result

in the loss of their livelihoods, careers, benefits, and fundamental rights.

               THIRD CAUSE OF ACTION
VIOLATION OF FIFTH AMENDMENT DUE PROCESS CLAUSE
                 U.S. CONST. AMEND. V

      132. Plaintiffs reallege the facts in Paragraphs 1 through 110 as if fully

set forth in this Count.

      133. The Fifth Amendment Due Process Clause provides that no person

may “be deprived of life, liberty or property without due process of law.” U.S.

CONST. AMEND. V. The DOD Mandate would deprive Plaintiffs of all three, as

well as and does so without providing “fair notice” of the rules to which they

are subject.

      134. The DOD Mandate requires Plaintiffs to take a vaccine without

their consent and thereby exposes them to a non-negligible risk of death or

serious injury.

      135. The DOD Mandate “threatens to substantially burden the liberty

interests” of Plaintiffs “put to a choice between their job(s) and their jab(s).”

OSHA, 2021 WL 5279381, at *8. Plaintiffs face not only the loss of the current

employment, but also will be barred from other federal or private employment

due to their vaccination and discharge status. The DOD Mandate, and its
                                       73
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 78 of 94 PageID 78




treatment       of   religious   accommodation   requests,   also   burdens   other

fundamental rights, in particular, the free exercise of religion protected by the

First Amendment. See id., at *8 n.21 (citations omitted).

      136. Vaccine refusal may also result in deprivation of the protected

property interests. Disciplinary action or discharge status may cause Plaintiffs

to lose retirement, veterans, and other governmental benefits to which they

are entitled.

      137. The Defendants have also violated the Due Process Clause insofar

as they have modified or amended AR 40-562, the currently effective regulation

governing immunization and exemptions—by imposing an entirely new

vaccination requirement and categorically eliminated existing exemptions—

without any legal authorization or following procedures required by law. By

changing the currently effective regulation governing Plaintiffs’ vaccination

obligations and rights to medical exemption, which remains on the books

unchanged, Defendants have failed to provide “fair notice” of the rules to which

they are subject. See, e.g., Fox, 567 U.S. at 253.

      138. Even if Plaintiffs were to become “fully vaccinated,” they would be

threatened with the loss of this status (and consequent deprivation of protected

life, liberty and property interests), at any time and without fair notice, due to

changes in the CDC or FDA approval of booster shots and change to the


                                         74
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 79 of 94 PageID 79




definition of “fully vaccinated.” So would the majority of service members who

are currently deemed “fully vaccinated.” The rapid decline in efficacy and need

for booster shots demonstrates that there is no scientific consensus on

Comirnaty’s efficacy, protection provided, or even dosage. See supra Section

V.E.2 (“Equal or Greater Risk of Infection by “Fully Vaccinated” Compared to

Unvaccinated.”). “As COVID-19 is a new disease, and the vaccines are even

newer, the long-term efficacy of immunity derived from vaccination and

infection is not proven.” Klaassen, 2021 WL 3073926, at *12. Accordingly, the

term “fully vaccinated” is unconstitutionally void for vagueness, and this fluid

and changing classification cannot be used as the benchmark for determining

who may serve in the military, or alternatively, for depriving Plaintiffs of their

life, liberty, property and other fundamental constitutional rights, including

the free exercise of their religion.

      139. As a result of the Defendants’ unlawful and unconstitutional

actions, Plaintiffs face deprivation of their rights to life, liberty and property

without due process or fair notice. Plaintiffs seek declaratory and injunctive

relief because they have no adequate remedy at law to prevent future injury

caused by Defendants' violation of their Fifth Amendment rights to due

process.

                        FOURTH CAUSE OF ACTION


                                       75
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 80 of 94 PageID 80




  VIOLATION OF FIFTH AMENDMENT EQUAL PROTECTION
                         CLAUSE
                   U.S. Const. amend. V

      140. Plaintiffs reallege the facts in Paragraphs 1 through 110 as if fully

set forth in this Count.

      141. The Fifth Amendment’s Equal Protection Clause requires that “all

persons similarly situated should be treated alike.” City of Cleburne v.

Cleburne Living Ctr., 473 U.S. 432, 439 (1985); see also Sessions v. Morales,

137 S. Ct. 1678, 1686 n.1 (2017) (the Supreme Court’s “approach to Fifth

Amendment equal protection claims has always been precisely the same as to

equal protection claims under the Fourteenth Amendment”).

      142. The DOD Mandate is a part of a government-wide program that

irrationally creates and maintains two classes of service members: (1) those

who are “fully vaccinated,” who are presumed to pose no threat; and (2) those

who are not “fully vaccinated,” who are presumed to be a danger to everyone

(including themselves). Class membership (“fully vaccinated”) is defined in

vague and fluid terms that may change from one day to the next (i.e., based on

FDA or CDC booster shot recommendations) and that is based on an

unsupported and demonstrably false presumption that “full” vaccination

prevents the spread of COVID-19. See infra Section V.E (““Fully Vaccinated”

Spread COVID-19 & Lack of Evidence for Public Health Benefits from

Vaccination”).
                                      76
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 81 of 94 PageID 81




      143. The DOD Mandate serves no rational or legitimate purpose insofar

as it threatens expulsion and punishment of tens of thousands of service

members for refusal to take an unproven, ineffective, and unavailable

experimental treatment. As such, the DOD Mandate violates the Equal

Protection Clause under the Fifth Amendment of the United States

Constitution because it unlawfully discriminates against plaintiffs on the basis

of unconstitutionally vague and irrational medical classifications. The

constitutional violation is further exacerbated by Defendants’ elimination of

existing medical exemptions and denial of religious accommodation based on

sincerely held religious beliefs.

      144. Defendants’ actions of adopting, implementing, promulgating,

delegating, and enforcing the DOD Mandate have discriminated and continue

to discriminate against Plaintiffs and other service members, on the basis of

class-based animus, stigma, and irrational and unsupported fears regarding

the perceived dangerousness of the unvaccinated. See, e.g., Ex. 12, Biden

Mandate Remarks, at 2 (falsely claiming that “[t]his is a pandemic of the

unvaccinated”); id. at 6 (“We’ve been patient, but our patience is wearing thin.

Any your [vaccine] refusal has cost all of us.”); id. at 5 (stating that he

understands the “anger” at the unvaccinated). These motivations are not

permissible bases for differential treatment under any standard of review. But


                                      77
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 82 of 94 PageID 82




the DOD Mandate and the other federal vaccine mandates more generally

single out and impose a government-created disability on a class that not only

bars them from public service and most private employment, but also expressly

denies that class the equal protection of the laws. See Romer v. Evans, 517 U.S.

620, 116 S. Ct. 1620, 134 L.Ed.2d 855 (1996) (striking down provision that

“impos[ed] a broad an undifferentiated disability on single named group” that

“seem[ed] inexplicable by anything but animus towards the class it affects.”).

      145. Apart from the evident animus towards the unvaccinated

motivating the Federal Vaccine Mandates, the class definition for those denied

equal protection of the laws is fluid, subjective and unconstitutionally vague.

The rapidly declining efficacy, inability to prevent infection or transmission,

and erroneous presumptions regarding the relative public health threats posed

by those who are “fully vaccinated” and those who are not, demonstrate that

these class distinctions are not based on any objective or rational basis. See

supra SectionV.B (“Evidence of Rapidly Decreasing Efficacy”) and Section V.E

(““Fully Vaccinated” Spread COVID-19 & Lack of Evidence for Public Health

Benefits from Vaccination”). Instead, the evident under inclusiveness of the

mandate, by exempting the “fully vaccinated” from any requirements like

testing that could prevent the spread of COVID-19, demonstrates that the

mandate’s “true purpose is not to enhance … safety, but instead to ramp up


                                      78
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 83 of 94 PageID 83




vaccine uptake by any means necessary.” OSHA, 2021 WL5279381, at *7 n.19.

      146. Further, if and when the FDA approves additional booster shot(s)

and the CDC changes its definition of “fully vaccinated” to require additional

shot(s), all those who are “fully vaccinated” now will be moved into the

unvaccinated class and deprived of the equal protection of the law. America’s

soldiers, military readiness and constitutional rights cannot be subject to such

arbitrary and ever-changing administrative diktats.

      147. The DOD Mandate, and its procedures and criteria for evaluating

religious accommodation requests, also discriminate on the basis of religion.

The Supreme Court has “time and again held that the government generally

may not treat people differently based on the God or gods they worship, or do

not worship.” Board of Ed. of Kiryas Joel Village School Dist. v. Grument, 512

U.S. 687, 714 (1994).

      148. Plaintiffs’ free exercise of their religious beliefs is a fundamental

right. Defendants’ decisions on whether to approve Plaintiffs’ religious

exemptions from the available COVID-19 vaccines are subject to strict

scrutiny. See Employment Div., Dept. of Human Resources of Ore. v. Smith, 494

U.S. 872, 886, n.3 (1990).

      149. Defendants have violated the Equal Protection Clause by denying

equal treatment to certain Plaintiffs solely for their religious beliefs. See


                                      79
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 84 of 94 PageID 84




Section VI.C (“Plaintiffs Religious Accommodation Requests Have Been

Denied. This is part of a systematic and discriminatory policy implemented by

Defendants. Out of the tens of thousands of religious accommodation requests

submitted, Defendants have denied thousands while granting zero requests.

See Section VI.D (“Defendants Have Systematically Denied Religious

Accommodation Requests.”).

      150. Those denied by Defendants are forced to choose between their

religion and their profession. Defendants have no rational or compelling

interest for this arbitrary division. These types of religious classifications are

“presumptively invidious.” Plyler v. Doe, 457 U.S. 202, 216 (1982).

      151. The DOD Mandate deprives Plaintiffs, who have sincerely held

religious beliefs, of their ability to freely exercise religion as their sincerely

held religious beliefs prohibit compliance with the DOD Mandate. Because of

their closely held religious beliefs, Plaintiffs have suffered, and continue to

suffer, a deprivation of their constitutional rights because of Defendants’

refusal to accommodate their sincerely held religious beliefs, as well as

significant stress and psychological harm caused by this impending threat to

their military service and employment.

      152. Plaintiffs, because of their sincerely held religious beliefs, are also

immediately injured by the stigma created by the DOD Mandates. Even if some


                                       80
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 85 of 94 PageID 85




religious service members are permitted to remain exempt from the DOD

Mandate, they now serve in a military where the Commander-in-Chief has

announced that their service or work is unwanted and unwelcome, and that

their religion is not respected. Any religious service member that is permitted

to remain in their current positions will necessarily be treated as a person with

second-class status.

      153. Plaintiffs will be harmed due to Defendants’ unlawful and

unconstitutional vaccination mandates that would deprive them of their

livelihoods, liberty, property rights, and fundamental constitutional rights,

simply for asserting their statutory and constitutional rights. Plaintiffs seek

declaratory and injunctive relief because they have no adequate remedy at law

to prevent future injury caused by Defendants’ violation of their rights to equal

protection.

                  FIFTH CAUSE OF ACTION
          VIOLATION OF NO RELIGIOUS TEST CLAUSE
                    U.S. CONST. ART. VI, § 3

      154. Plaintiffs reallege the facts in Paragraphs 1 through 110 as if fully

set forth in this Count.

      155. The No Religious Test Clause of the Constitution states that “no

religious test shall ever be required as a Qualification to any office or public

Trust under the United States.” U.S. CONST. ART. VI, § 3. Plaintiffs are

members of the United States military and are thus officers or under the public
                                       81
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 86 of 94 PageID 86




Trust of the United States.

      156. Upon information and belief, Defendants have implemented their

religious exemption policy in order to identify, isolate, and ultimately screen-

out and/or punish those with sincerely held religious objections to the COVID-

19 vaccines. This is demonstrated, in part, by the hostility in which Defendants

have addressed Plaintiffs’ religious accommodation request and their blanket

refusal to grant any requests submitted to date. See Section VI.D (“Defendants

Have Systematically Denied Religious Accommodation Requests.”). The DOD’s

unprecedented, and medically unjustifiable 100%, vaccination requirement is

further proof that Defendants true motivation is to purge the military of people

of faith (as well as those who would question the lawfulness of a facially

unconstitutional regulation), rather than to promote military readiness or

protect the health and welfare of service members.

      157. The religious exemption requirement – which Plaintiffs must pass

to avoid the vaccine mandate and continue their employment – is itself an

unconstitutional religious test in violation of Article IV, § 3 of the U.S.

Constitution as applied to those Plaintiffs who have been denied religious

exemptions. Moreover, Defendants’ denial of Plaintiffs’ religious exemption

requests, where applicable, is a violation of the No Religious Test Clause.

      158. Plaintiffs have no adequate remedy at law for Defendants’


                                      82
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 87 of 94 PageID 87




violation of the No Religious Test Clause of the Constitution.

                SIXTH CAUSE OF ACTION
VIOLATION OF FIRST AMENDMENT FREE EXERCISE CLAUSE
                   U.S. CONST. AMEND. I

      159. Plaintiffs reallege the facts in Paragraphs 1 through 110 as if fully

set forth in this Count.

      160. The First Amendment’s Free Exercise Clause provides that

“Congress shall make no law respecting an establishment of religion or

prohibiting the free exercise thereof.” U.S. CONST. AMEND. I. Where, as here, a

law targets religious practice for disparate treatment inhibiting the free

exercise thereof, that law is assessed under the Supreme Court’s strict scrutiny

rubric, even in a pandemic. See Roman Catholic Diocese of Brooklyn v. Cuomo,

--- U.S. ---, 141 S. Ct. 63, 67, 208 L.Ed.2d 206 (2020) (“[e]ven in a pandemic, the

Constitution cannot be put away and forgotten”).

      161. Defendants have deprived and will continue to deprive Plaintiffs

of their First Amendment rights. Plaintiffs are Christians and hold sincerely

held religious beliefs that the Scriptures are the Word of God, and that they

must follow God’s mandates and instructions. Plaintiffs’ religious beliefs

require them to abstain from being administered the COVID-19 vaccines that

are currently available to the public.

      162. Plaintiffs submitted religious accommodation requests, stating

that their religious beliefs prohibited them from receiving the available
                                         83
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 88 of 94 PageID 88




COVID-19 vaccines because of their sincerely held religious beliefs that

abortion is an abomination and because the aborted fetal cells were critical to

the development of the vaccines, they refuse to participate or support this evil.

See supra Section VI.A (“Plaintiffs’ Sincerely Held Religious Beliefs”) and

Section VI.B (“COVID-19 Vaccines Are Critically Dependent on, and Could Not

Exist but for, the Use of Aborted Fetal Cell Tissue.”).

      163. Defendants      have    not    granted   any    Plaintiffs’   religious

accommodation requests, and every Plaintiff who has received a decision has

been denied. See Section VI.C (“Plaintiffs Religious Accommodation Requests

Have Been Denied.”). In issuing these denials, Defendants are unlawfully

denying Plaintiffs their religious liberty to abstain from available COVID-19

“vaccines.” Further, the Defendants have confirmed that, as of November 12,

2021, they have denied thousands of religious accommodation requests, while

granting zero religious accommodation requests to date. See supra Section

VI.D (“Defendants Have Systematically Denied Religious Accommodation

Requests. This is the unlawful and unconstitutional targeting of Plaintiffs’

religious practices.

      164. The DOD Mandate, as a policy and as applied to Plaintiffs, fails to

accommodate Plaintiffs’ sincerely held religious beliefs. There is no interest –

rational or otherwise – for Defendants to deny Plaintiffs’ religious exemptions


                                         84
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 89 of 94 PageID 89




or threaten to not accommodate Plaintiffs’ sincerely held religious beliefs. Nor

is the least restrictive means of achieving Defendant’s alleged interest.

Accordingly, the DOD Mandate, and the Defendants’ religious accommodation

policies and procedures, cannot survive strict scrutiny.

      165. Plaintiffs seek declaratory and injunctive relief because they have

no adequate remedy at law to prevent future injury caused by Defendants'

violation of their First Amendment right to the free exercise of religion.

               SEVENTH CAUSE OF ACTION
  VIOLATION OF RELIGIOUS FREEDOM RESTORATION ACT
                 42 U.S.C. § 2000bbb, et seq.

      166. Plaintiffs reallege the facts in Paragraphs 1 through 110 as if fully

set forth in this Count.

      167. RFRA states that “Government shall not substantially burden a

person’s exercise of religion even if the burden results from a rule of general

applicability.” 42 U.S.C. § 2000bb-1(a). If the Government substantially

burdens a person’s exercise of religion, it can only do so if it “demonstrates that

application of the burden to the person – (1) is in furtherance of a compelling

governmental interest; and (2) is the least restrictive means of furthering that

compelling governmental interest.” 42 U.S.C. § 2000bb-1(b).

      168. RFRA applies to Defendants, as they constitute a “branch,

department, agency, instrumentality, and official of the United States.” 42

U.S.C. § 2000bb-2(1).
                                        85
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 90 of 94 PageID 90




       169. RFRA was enacted “in order to provide very broad protection for

religious liberty.” Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct. 2751, 2760

(2014). RFRA’s definition of the term “exercise of religion” includes “any

exercise of religion, whether or not compelled by, or central to, a system of

religious belief.” Burwell, 134 S. Ct. at 2761-62 citing § 2000cc-5(7)(A).

“Congress mandated that this concept be ‘construed in favor of a broad

protection of religious exercise, to the maximum extent permitted by the terms

of this chapter and the Constitution.’” Id. citing § 2000cc-3(g). And “[i]n RFRA’s

congressional findings, Congress stated that ‘governments should not

substantially burden religious exercise,” a right described by RFRA as

‘unalienable.’” Little Sisters of the Poor Saints Peter & Paul Home v.

Pennsylvania, 140 S. Ct. 2367, 2383 (2020), citing 42 U.S.C. §§ 2000bb(a)(1),

(3).

       170. Defendants have substantially burdened Plaintiffs’ exercise of

religion. Plaintiffs’ sincerely held religious beliefs – based on the Word of God

– prohibits them from receiving any of the currently available COVID-19

vaccines. Plaintiffs provided explanations of their religious beliefs and

requested exemptions to the Vaccine Mandate based on these beliefs.

Defendants denied these exemption requests, have threatened to deny these

requests, and have otherwise threatened Plaintiffs with professional


                                       86
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 91 of 94 PageID 91




retaliation based on the exercise of their religious beliefs.

      171. Defendants have no compelling governmental interest to require

Plaintiffs receive a COVID-19 vaccine in light of their religious exemptions.

Furthermore, even if there is a governmental interest, Defendants’ denial of

Plaintiffs’ religious exemptions are not the least restrictive means of furthering

that interest. For example, Plaintiffs could be subject to regular COVID-19

testing, along with isolation or quarantine for positive tests, as they have been

for over a year. See supra Paragraph 90. There are alternative and effective

treatment options for Plaintiffs that provide equivalent and safer “protection”

to the “vaccines.” See supra Section V.G. (“Alternative and Effective

Treatments for COVID-19”) And several Plaintiffs have natural immunity

from previous protections, which provides stronger and longer-lasting

protection than the vaccines. See supra Section V.F (“Natural Immunity

Provides Superior Protection ”).

      172. Defendants ignore these options in favor of punishing Plaintiffs,

singling them out for having the courage to put their religious beliefs over a

governmental order. Plaintiffs are asked by Defendants to choose compliance

with Defendants’ orders and their sincerely held religious beliefs. This puts

Plaintiffs into the position of choosing between their religious beliefs or facing

discipline, including court martial, termination, and possibly imprisonment.


                                        87
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 92 of 94 PageID 92




This substantially burdens Plaintiffs’ exercise of religion without having a

compelling governmental interest and not pursuing the least restrictive means

of furthering its interest.

      173. Plaintiffs have no adequate remedy at law for the deprivation of

their sincerely held religious beliefs.

                              RELIEF REQUESTED

    WHEREFORE, Plaintiffs respectfully ask this Court to:

      A.      Issue a declaratory judgment that the DOD Mandate is unlawful

and in violation of federal laws governing informed consent, the APA, and AR

40-562, and in excess of Secretary’s statutory authority.

      B.      Enjoin any implementation of the DOD Mandate by the Armed

Services or other DOD components, and to stay the effective date thereof

pending resolution of Plaintiffs’ claims before this Court.

      C.      Issue a declaratory judgment finding that the DOD and Armed

Services may not mandate an EUA product, or use an EUA vaccine

“interchangeably” with a licensed product for the purposes of the DOD

Mandate.

      D.      Issue a declaratory judgment Defendants’ requirements and

criteria for assessing religious accommodation requests are unlawful and

unconstitutional.


                                          88
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 93 of 94 PageID 93




      E.     Find that all Plaintiffs who have requested medical exemptions

must be granted exemptions pursuant to the terms of AR 40-562, and that

Plaintiffs who have submitted religious accommodation requests should be

granted such requests pursuant to RFRA and the First Amendment.

      F.     Issue a declaratory judgment that the DOD Mandate infringes

upon Plaintiffs’ First Amendment Free Exercise Clause, the No Religious Test

Clause of Article VI, § 3 of the U.S. Constitution, the Fifth Amendment’s Equal

Protection Clause and Due Process Clauses, and RFRA.

      G.     Award plaintiffs’ costs and attorneys’ fees and any other relief

this Court may find appropriate.

                                    Respectfully submitted,

                                    /s/ Brandon Johnson
                                    DC Bar No. 491370
                                    /s/ Travis Miller
                                    TX Bar No. 24072952
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                                      89
Case 8:21-cv-02730-TPB-CPT Document 1 Filed 11/19/21 Page 94 of 94 PageID 94




                        CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing Plaintiffs’

Complaint for Declaratory and Injunctive Relief using the CM/ECF system,

and that I have delivered the filing to the Defendants, as well as the United

States Attorney General and the United States Attorney for the Middle

District of Florida, by mail at the following addresses:

This 19th day of November, 2021.
                                     Respectfully Submitted,
                                     /s/ Brandon Johnson
                                     Brandon Johnson

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